, Case: 1:15-Cv-06494 Document #: 1 Filed: 07/24/15 Page 1 of 152 Page|D #:1

l

[N THE UNITED STATES DISTRICT COURT

NORTHERN DISTRICT OF ILLINOIS

EASTERN DIVISION F ! L E b
.1\\\, 232015

United Statcs of America ex rel. "1 "'3"\ ’ ib

THCMAS G- ERUTON
CLERK. U.S. DlSTR|CT COURT

MI`C/’)O~»€/ M/e /9)@0:/1 nOf`

(Full name and prison number)
(Includc name under which convicted]

PETITIONER

¢'/i\ar TE>m S§[ il;!£iizzerjié§d@ M§
(Wardcn, Superinte ent or autho

pcrsonchaving custody of petitioner)

f\ _ _._

150v6494

Judge Sharoon Johnson Coieman
Magistrate Judge Young B. Kim
PC‘lO

 

RESPBNDENT, and

(Fi]l in the following blank only if judgment
attacked imposes a sentence to commence
in the future)

1261€1?__&%’

’ Ca.se Nurnber of State Court onviction

{LiC/R Q?B§ ____
/Z 0195055`7

PETITION FOR W`RIT OF HABEAS CORPUS - PERSON IN STATE CUSTODY
l

I. Name and cation courtwhere convicti cntered: _ l `
1
mm ZL, ?,@?<RZ:H ) [L

2. Datc ofjudgmentofccnviction: 2 f } 31 !,2 913

3. Offense(s] of which petitioner was convicted Oist ali counts with indictment numbers, if known)

C\zb€i;eivh[ KCM/ ,»1 n . q
4. Sentence(s) imposed: 6 3 0 YY? 0 Vi M§ }L?\CO b 0!.:5 G m
5. What was your plea? (Check one) (A) th guilty C><) 5 /1(){_'§

G` 11
93 N:lti}contenderc E>O] ;]` l 20(5

A'I`TORNEY GENERAL OF THE STATE OF

 

w\_¢'\_h.../\...A_.¢~_)\_J\_/\_./\../\._/\_.)\€d\_!<.. .._/\...J-.../~._./\.../\.../\_)

(State where judgment entered)

 

 

 

lf you pleaded guilty to one count or indictm Ktm(ft and nfltAguilty to another count orin ictment, give dctails:

5 Mil(/\// _; m WGK`C 1013

Revicwed: 81‘2013

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Case: 1:15-Cv-06494 Document #: 1 Filed: 07/24/15 Page 2 of 152 Page|D #:2

PART I - TRIAL AND DlRECT REVIEW

1. Kind of trial: (Check one): Jury ( ) lodge only N

2. Did you rectify at man Yes ( ) No j><)’

3. Did you appeal from the conviction or the sentence imposed? YES 96 NO ( )

(A) If you appealed1 give the

(l) Nameofoourt: A*Dp€ii HOK.-f`e f@%i`t/ @7[[//{>’7@75
(2) Result: QEM
(3) Date of ruling: r' '

 

  

(4) Issues raised;

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gmi;€n'@ }u`§ m€/??§/ AIEWFMMW fe§`§:aé/+Y

’L:O@leyou did not appeal, explain bn%mwh%§“éeyn MSS$/fc UY"‘§W iMZM%/W

 

 

4, Did you appeal, or seek leave to appeal, to the highest state court? YES ( ) NO M

- () lfyes, give the~
(1) tamm '
(2) Date of ruling:

 

(3) Issues raised: ‘

 

 

 

_ (B) Ifiiu, whynm 6 DC_*W€/c£ /D/i£&f€r'\-'{?MF -{-`TVW) M79 7%€ 9ij

VGOar
5. Did you petition the United States Supreme Court for a writ of certiorari“? 1 cs( ) No,,¢()/ ($.¢e $QM*'-' f U

Ifyes, give (A) date of petition: (B) date certiorari was denied:

2 nmew¢:d: 312013 1

 

 

     
  
 

, Case: 1:15-Cv-06494 Document #: 1 Filed: 07/24/15 Page 3 of 152 Page|D #:3

PART 11 - COLLATERAL PROCEEDINGS
1. With respect to this conviction or sentence, have you filed a postconviction petition in state court?
YES ( ) No 156
With respect to each post-conviction petition give the followinginforrnation (use additional sheets if necessary):

A. Name of court:

 

B. Date of iiling:

 

C. Issues raised:

 

 

 

Did you receive an evidentin hearing on your petition? YES () NO ky

D.1 n
E. Whatwas thecomt'sruling? W CLO(/(.i`i'L l_QHO[`@d M WU]€§M.S
F. Date ofcourt‘sruling: /d§f_r%iU/\L /0//\&/»2¢7/$¢

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H

. Did you appeal from the ruling on your petitio ? YES ( ) NO l(>(
. (a) Ifyes, (1) what was the result?

 

(2) date of decision:

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Did you appeal, §seeklg€@_p}m/anl:-I§`;!cisioli/i/o:z@al the ghost state dcou?'/M ned ky &>ZP

YES( ) NO 114(2@ wan
(a) Ifyes, (l) what Was the result? l"§ z _€/€$$MW) MZ;;.
(2) date of decision:
(b) Ifno, explainbrieilywhynot: 4 l 654 n 10-/_ k}’i 000 MQZL I i/MMM
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Case: 1:15-Cv-06494 Document #: 1 Filed: 07/24/15 Page 4 of 152 Page|D #:4

2. With respect to this conviction or sentence, have you filed apetition in a state court any other form of post
conviction procedurc, such as coram nobis or habeas corpus? ¥ES{ ) OW

. Ifyes, give the following information with respect to each proceeding (use separate sheets if necessary):
I. Nature of proceeding
Date petition filed

2
3. Ruling on the petition
4 Date of ruling

5

If you appealed, what was
the ruling on appeal?

6. Date of ruling on appeal

7. lt` there was a further appeal,
what was the ruling ?

8. Date of ruling on appeal

3. With respect to this convicti or sentence, have you filed a previous petition for habeas corpus in federal
court? YES ( ) NO><?“

A. Ifyes, give name of court, case title and case number:

 

 

B. Did the court rule on your petition? If so, state
(1) R.uling:

 

[2) Datc'.

 

4. With respect to this onviction or sentence, are there legal proceedings pendin__`a m any court, other than this
petition? YES NO ()

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Case: 1:15-Cv-06494 Document #: 1 Filed: 07/24/15 Page 5 of 152 Page|D #:5

GrOuu(iOi UWQ 5

Petitioner's i.ife ls in imminent Dan er o
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a retire 555 .
tl lo e Has ”Excess e An iety", PTSD, TB|, Suicldal ldeation, Untreated Head Concusslons,

Dislocated Vertebrae, Deafness in One Ear, B|urred Vision, Damaged l<nee, Teeth, and Maxillary,
is in constant pain, shaking uncontrollab|y, and he needs a wheel chair, due to repeated assaults
in CCDOC, to the lack of medical care, and constant denial of his Due Process rights.|n order to
stay alive, petitioner needs urgent and appropriate medical and neurological care [see Att. |l|).
Petitioner was 21 years old, a senior student at DePaul, when, on 6/14]2012, he was arrested,
illegally(see attachment |), for, allegedly, having texted, between 6/06 and 6/10/2012, a girl
who, unknowing|y, placed a Temporary No Contact Order against him, on 6/11/2012. Cook
County jail refused to allow him his medication, petitioner suffered a seizure and was physically
injured.His family bonded him out, he was treated, and returned to his senior classes at DePau|.
|n revenge for having resumed his life and career, the malicious prosecution worked with
petitioners defense attorney, who had access to petitioner’s DePau| records, with officers from
DePau| police campus, with DePaul professor whose husband is a police officer at Or|and Park,
and with the victim, harassing petitioner, especially after petitioner responded to their
slandering allegations by sending to his defense attorney(unaware of the conspiracyi proofs of
the victim’s plagiarism off petitioner's papers, and naked or semi naked pictures of herself that
the victim had texted him.Approxirnately two days before the Vice President of
Students'Affairs’meeting where petitioner was going to present proofs of the victim misconduct,
Petitioner was re~arrested for some ta ken out of context, Craiglist postings. The revengefu|
prosecution declared petitioner, "a danger to societ\f’ and, because “she got mad”(defense
attorney"s and the sherist words) at petitioner’s mother who called the DA office to inform
them that the petitioner ls mentally il|, she sent petitioner to the N|axirnum Security CCDOC,
with felons of type X and Xl feionies, who did not believe that petitioner "just wrote” to a victim,
but they sought to harm him because they thought he is lying about his felony, which was VSP.
ln addition to the dangers of being killed, petitioner was, again, denied his needed medications
for 22 days, and, when petitioners mother explained to the sergeant, on 11/04/2012, that
petitioner became symptomatic and suicida|, the sergeant, who worked together with those
who conspired to kill the petitioner,transferred petitioner to the Criminally insane ward, placing
petitioner in a cell with a gang member who was going to shank the petitioner. Since the
petitioner kept begging to be protected from being killed, the following day, the same Orland
Park police detectives who sent petitioner to jail in June, 2012, re-arrested petitioner, on
11/06/2012, transported him with the Top Crime Suburban squad to their police station, where
they tenured and interrogated the petitioner, who, due to the lack of medication was already
psychotic, and charged petitioner with more double jeopardy cyberstalking charges(having
caused distress and having cause fear).`l`ogether with the revengefu| prosecution, and her
friends, petitioner was arraigned, on 12{20/2012, for other cybersta|king charges of June, 2012.
Petitioner was returned, by the Or|and Park office, to the Criminal|y lnsane ward, where his
cellmate was waiting ”to kill” him, since he has been informed that petitioner was taken out to
f'rat” on him. The following day, on 11/10/2012, petitioner was assaulted and sexually molested
by this cellmate. Petitioner was completely unable to defend himse|f, due to dmg Clonapin that
he just started to be prescribed. Despite petitioners desperate cries for help, the attacker
banged petitioners head on the floor for 20 minutes, bit his neck(to separate his head from his

 

 

Case: 1:15-Cv-06494 Document #: 1 Filed: 07/24/15 Page 6 of 152 Page|D #:6

body), and sexually molested petitioner. Petitioner suffered head concussions, TBl, PTSD, he was
not able to open his mouth for three days, and, even after four weeks(defense attorney advised
petitioners mother to not visit him sooner, due to possible nervous break down},when she
visited him, petitioner's mother was unable to recognize her son’s facial features. Extremely
traumatized, and following defense counsel’s inefficient legal advise, petitioner pleaded guilty to
criminal charges of cyberstalking, in order to access medical help, but he revoked his guilty plea
three weeks later, when he was advised by a pro bono lawyer of the inefficiency of his defense
attorney’s counsel,who, in addition to the fees his mother paid him, took petitioner's bond
money, without informing petitioner’s mother, and after three court appearance,deserted him.
On 10/17/2013,petitioner filed a Civil Cornplaint for violation of his civil rights by the Or|and
Park police and by the Cook County Jail.lmmediately after, the Orland Park police, who had
routed the victim's phone to their police station, the victim, and their friends, started an intense
campaign “to get" the petitioner and to”get the mother” of the petitioner, also. Numerous
postings, and enticing ("when | saw you in Court,..","‘ca|l me without hesitation”, "‘it was not me
who hurt you, but someone snooped through my things”, ”| love you and l miss you so much”,
etc. ~ e-mai|s and social media postings from the victim(and/or her friends, impersonating her)
ensued. After 15 months of painful avoidance, petitioner responded with love poems and
postings in Facebook. He was immediately re-arrested by the CPD, due to a “detective alert”
placed by the Orland Park police, and kept without medication, for four days in the basement of
our CPD District 22. Although petitioners mother, immediately after his arrest, on 5{06,turned
in the petitioner’s medications, explaining to the CPD ofhcers that petitioner needs his
medication to survive, they refused to medicate him, and, on 5/09/2014, in the Bond Court,
when prosecutor was reading three more cyberstalking charges against him, petitioner, who
was symptomatical|y sick, said, ”No, no, no”, and was left-for-dead, by being hit in the head,
face(broken nose), handcuffed and dragged~in front of the entire Court -, then, in the Bond
Court back hallway, he was beaten-to be-ki||ed, by being kicked in the face, head, back, and
groin, by four sheriffs, who kicked petitioner in the head, face, back and groin, spitting swearing
and threatening to kill hlm, while six officers watched Petitioner was left unconscious, in blunt
trauma, not breathing and had to be resuscitated twice(whi|e the police refused to allow the
ERdoctors to unshackle, free the handcuffs and the body guard attached to his body)shackled,at
the N|ount Sinai ER Hospital.Two police officers posted in front of his hospital room denied
petitioner to contact his family “for 48 days" because, they said, "you don't want them to see
you like this”.Due to the extreme hate against him ("theyjust hate |Vlichael”) and to the
concealment of conspiracy to turn him into a felon, for 419 days still in CCDOC,petitioner
continues to be denied his due process jury trial, and his urgently needed treatment for the
extensive neurological damage that he suffered during his 5/09/2014 Bond Court assault (see
attachments ll and l|l).

Gl`danél( mci §

Petitioner was told and had to promise that he will not hold anyone responsible if he will be
killed, due to his filing a civil complaint for his 5/05/2014 assault in the Bond Court.

 

 

 

 

Case: 1:15-cv-06494 Document #: 1 Filed: 07/24/15 Page 7 of 152 Page|D #:7

MZGP Pr€i`l£ivtg, talc/§§

For more than o e year of incarceration petitioner was not allowed at least x-rays for his head
concussions. He was told that there are no records to show that he was ever assaulted.
Petitioner is constantly threatened, hurt, provoked-to-react by some Cook County guards - who
allied with the sheriffs who left petitioner for dead, on 5/09/2014 Bond Court assault - , and
who continue to place petitioner in lviaximum Security solitary confinement (August, 2014, Nlay
2015) with ”killers" cellmates in 23 hrs. conf nment with clark muddy water to drink fescies on
the floor thus co §§inuing to da age petitioner's physical, mental and neurological condition.

o
Excessive/Dppressive Bonq (;)LO?/Q/;anger:/7 Pe(t\l§o€rier by Raising lnrnates' and Guards’ Suspicions
of Petitioner’s Criminality, and Prevents Petitioner From His Neecied Medical Treatment, Due
Process Right_s and from Being Allowed to Therapy, Social Work and Employment Services,
While' 111 Cook C;nty .|ail{FourW Bond ChaF;Gr/`??S_ and two charges of over $1, 350, 000 Bond

@li`il? fx&;

Petitioner was charlg%g£9 ith “color of crimes and with frivolous charges(based on an
unconstitutional Probable Cause of having stated, to the victim, ”| don t just want to have sex
with you, l want to have a relationship with you”) which have never been proved, beyond a
reasonable doubt, to have caused any harm, and any discomfort or fear in the victiml
Petitioner has been continuously unconstitutionally entrapped for his love and for his
writing{petitioner is a published writer, and, even in jail, using the inside of a pen, not being
allowed a pen in jail, petitioner wrote four noveis, over 750 pages each, and one volume of
poems and rap |yrics, by interviewing inmates, writing their life stories as if it would be his own),
Considering also that the charges have been built on one another, that the initial charges have
been pressed by others than the victim, that, beside the entrapping social media postings, the
victim sent petitioner over 111 messages, but she was told by Professor Niarsha|l(whose
husband works for Orland Park Poiice]to claim that she does not know the petitioner, after she
asked him to delete all her messages, and that she claimed petitioner caused her discomfort and
fear only when petitioner was about to expose her plagiarism, that the victim stated, in a text
message to their common friends, "Michae| did not do anything to me, giri, l just wanted to see
his ass rot in jail”, also considering the consistent rejection on the part of the State Fifth Circuit
Bridgeview Court,of petitioner's post-conviction revocation of his guilty plea and constant denial
of petitioner's appeals - etitioner begs \'our Honor's attention to his claim of Oppressive Bond.

round Hc)(,( 11 °
inefficient Defense Counsel/ Constant Rejection of Petitioner's Post Conviction Revocation of
Guilty Piea, also of Petitioner's Appeals the Appeal Court, erred by the Same District Court

D
Petitioner and his Legal af an realized th{ e had been pushed into a wrongful conviction
when a pro- -bono lawyer explained to them why his inefficient defense counsel appeared' in
Court only twice and disappeared, after having forced petitioner into a wrongful conviction. The
Circuit Court granted the defense counsel the petitioner's bond money, while the petitioner’s
mother, who borrowed the money, was never informed. Petitioner and his mother constantly
appealed the wrongful conviction, but they have been constantly rebuked/barred from
appealing, they have been constantly threatened and had suffered revengeful acts taken against
them, while their desperate requests for appeal have been ignored by the same Circuit Court.

 

 

Case: 1:15-cv-06494 Document #: 1 Filed: 07/24/15 Page 8 of 152 Page|D #:8

Constant hate and blunt Disabi|ity Discrimination permeated the entire process of petitioner's
color of crime continuously built on each other, charges. The prosecution, family friend of the
Board of Education lawyer who lost the FivlLA case petitioner’s mother brought, in 2012, when
Honorable ludge A. St ives rejected the Board's Summary Judgment[two days before petitioner
was arrested the first time). in response to the allegation that "O*Connor did not need FMLA to
treat her alcoholic 18 years old son”, Honorab|e .|udge St ives stated that “Michae| is primarily
Bipolar”. After continually stressing, degradingly, that petitioner is "an addict”, but, iilogically,
denying him the treatment he needed, the prosecution and the Court constantly refused to
accept that the petitioner is mentally ill, and punished petitioner repeatedly for his and his
family’s asking for his needed psychiatric medications, entrapping him wantonly and
continuous|y, to be assaulted to be killed, by not medicating, over medicating, and/or mls -
medicating him, while continuing to build criminal charges that have never been proved, to
oppress the petitioner and his family. Even after five jail psychiatrists confirmed the petitioner‘s
diagnostic, on November 21,2012, the prosecution and the Court denied the reduction of
petitioner's bond and humiliated the petitioner's doctor who took the stand to explain that the
petitioner might lack social graces, at times, but his trespass is never more than “just
verbalizations”- On Niay 21, 2013, the same District Court stated that the petitioner is not
mentally i|l, "he is just fooling all of us”, and increased the petitioner’s bond to the point that his
exhausted family and community were not able to pay to release him anymore.

 

 

 

 

Case: c\/- 06494 Document #: 1 Filed. 07/ 15 Page 9 of 152 Page|D #: 9
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Michael is accused forJ ing in love, being mentally ill, and for being a writer

The following are only some of the District Court’s errors in regard to Michael’s case:

l The refusal of the defense lawyers to file a motion for Miehael’s .Iury Trial; “They will be
so mad at me if l file motion for trial” (Mr. Shay Allen’s words, referring to Judge .iohn
Hynes and to the Prosecutors Coakley and Lawler).

¢ Charging Michael with having sent rne to the victim’s house on August 8“', 2012: on .lune
14‘*‘, 2012, when Michael was detained by the Orland Park police and sent to jail,
Michae|’s Iawyer, Mr. Needham, gave me the address of the victim, so l could find out
from the source what did Michael do and what happened to him. I was told then, by the
victim’s father, “If he (Michael) is crazy, he might do something to my daughter”.
Because the girl was not at home, but visiting with her boyfriend, I wrote her a letter
apologizing on Michael’s behalf for anything inappropriate that Michael might have said,
and explained to her that Michael is Bipolar. Michaei did not have anything to do with
my visit or letter writing and, in my judgment, this is the human way to interact with one
another, instead of involving state actors who would use excessive force to harm and
destroy ours and our childrens’ lives.

l Michael’s neuropsychologist doctor, Dr. T. Finn, took the stand on November 21“, 2012
(see attachment Vlll), to explain to the District Court that Miehael is not a danger to
society, and that he has never been such, but, in his case, the Bipolar Disorder manifests
itself, during his episodes, “through verbal izations” (“lt affects his social graces”, said Mr
Allen, his defense attorney). She was met with malicious comments from the prosecutor

and from the Court, who asked her to guarantee that Miehael will never act out more than

 

 

 

 

 

Case: 1:15-cv-06494 Document #: 1 Filed: 07/24/15 Page 10 of 152 Page|D #:10

verbalizing, in the future. Bcfore Dr. F inn had time to answer, they already concluded
that Michael should be kept in jail as a potential danger.

0 The conspiracy to keep Michael “locked up” as “a danger to society” is, also, exposed by
the Note to .ludge Shei la McGinnis horn the Prosecutor lsawler (attachmcnt iX) in which
the prosecutor is asking Honorable _ludge McGinnis to keep the same number for the No
Contact Order, but to allow them to raise it to a criminal level, which Honorable .ludge
McGinnis never did, since, she stated, the victim is not going to gets Criminal Order,
because they never had physical interaction, they were not in a dating or domestic
relationship

o In the Civil No Contact order that .ludge McGinnis issued, she specifically mentioned that
Michacl is allowed to go to DePaul and that she encouraged him to continue his studies
and to graduate1 but to “just stay away from this girl”, advice which Michael followed,
since he never made direct contact with the victim, as, erroneously the District Court
suggests and the girl reporting that Michael was on the DePaul campus in April 2014,
although she never saw him (see attachment lX).

n During the same Court hearing, on 6/22/2014, the victim perjured herself, by answering
to Mr. Allen that Michael never abused her physical [y, or exploited her, etc., contrary to
what she marked on her request for the No Contact order. She also stated that she does
not have a Facebook account, but her friends told her about lvlichacl’s love poems posted
for her in AprilfMay, 2014. She also stated that Michel never contacted her directly, but it
is only the Facebook posting and Michael’s two letters from jail (which were sent by
someone other than Michael) that disturb her. The victim stated that she never posted nor

contacted Michael since the issuance of the No Contact order, which is not true, since she

 

 

Case: 1:15-Cv-06494 Document #: 1 Filed: 07/24/15 Page 11 of 152 Page|D #:11

e-mailcd and posted multiple timcs, starting with e-rnai|s that l saw, on Michael’s screen,
on 7!24)*20|2, at approximately 6:(_]0 PM, (“When l saw you in Court, l was t`..ed hard
core by my bf”), telling Michael that she |oves and misses him, that it was not her who
reported to the police, but “someone snooped through" her things, urging Michael to call
her “without hesitation”. These postings and e-mail messages intensified after Michael
and l filed a Civil Complaint against the Orland Park police for violating Michael‘s civil
rights, which show that others than the victim pressed charges, revenget`ully, against
Michae|, and exposes the conspiracy and the entrapment Michael has been subjected to,
especially after 10f8!2013 (see attachment X). Even if Michael was accused of having
violated his Probation, by posting “thousands of threatening postings in Facehook”
(Prosecutor B. O‘Brien’s words in the Honorable Judge Higgins’ Court), and two letters
i`rom jail, which were sent by someone else than Michae|, .ludge McGinnis refused to
punish Michael even with a misdemeanor, for the assumed trespassing of the No Contaet
order.

0 The prosecutor’s assertions were false, since Michael never threatened the victim, he
never wrote any insulting or fighting word to her nor to her father, the Chicago Police
Department could not find anything but “worth|ess materia|s” in Michael‘s and our
confiscated computers (see attachment Xl), and, when Honorable .ludge Higgins asked
the same prosecutor, what had Michacl said that was th reatening, the Prosecutor O’Brien
answered, “... that he |oves her and that he wants to marry her”, to which .ludge l-liggins
Said she does not Hnd that threatening, she DOES NOT FIND MlCi-IAEL TO BE A
DANGER, and that MlCI-IAEL SHOULD BE RELEASD FROM .lAIL. Honorable .ludge

Higgins also, rebuked the CCI)OC psychiatric Mental Health Eva|uation oi` Michael, by

 

 

 

 

 

Case: 1:15-Cv-06494 Document #: 1 Filed: 07/24/15 Page 12 of 152 Page|D #:12

stating that, in the light of Michael having written to the victim from jail, she finds
Michael to be much more seriously ill than what the jail psychiatrist said, i.e. that
Michael could stand for trial, if medicated, and that he could defend himself if he chooses
to do so. Michael’s Pub|ic Det`ender, Mr. Ryan Carlsen, told Michael that he was going to
ask for the verdict of “Not Guilty by Rcason of lnsanity‘, but Mr. Carlsen took four more
months of contin uances,' until, according to another lawyer, Mr. Brandstrader, .ludge
Higgins “was pushed into “ an early retirement

¢ We are back to square one again, since Michael’s new Judge, the Honorab|e Erica
Reddick, had not been informed about any of the precedent evaluations or Court
Dispositions, and she had to continue Michael’s case three more times, for a “Menta|
Health evaluation”. Michael’s court file at the Leighton criminal courts is almost empty,
and documents like a letter of Michael’s TASC therapist, Julia (which shed light on
Michaei ’s innocence), .lulia having sent Michael by ambulance to Northwestern Hospital

a week before Michael was accused of having posted in Facebook). Two Mental Health

 

evaluations of Michael performed by Dr. Finn are missing, even though the second set of
Evaluations were taken by a sheriff from Doctor Finn’s oftice, to be brought to Court, in
March, 2014. In the case of Michael’s Bridgeview Court ti|e, the clerk Sandy does not
allow me to even see it, because she said that Judge Hynes ordered her to not allow me to

see it, or to ask the clerk for Court transcripts which I intended to send to the Appeal’s

Court.

 

 

 

Case.

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6\§4 Document #:

1 Filed: 07/24/15 Page 13 of 152 Page|D #:13

 

 

 

Case: 1:15-Cv-06494 Document #: 1 Filed: 07/24/15 Page 14 of 152 Page|D #:14

LE'I`TERS OF OFF`ICE - PLENARY CUARDIAN OF PERSON OF A DISABLED PERSON {Rev. 12)'23!03) CCP 0205

IN TI'IE CIRCUIT COURT OF` COOK COUNTY, ILLINOIS
COUN'I'\' DEPARTMENT - PROBATE DIVIS]ON

DR|G|NA`L

ssTATs or No. 2013 P 003450
MICHAEL W. O'CONNOR
Docket

A Disabied Pvr"‘.~', _, Page

LE'I"I`ERS OF OFFICE - PLENARY GUARDT.‘ N OF PERSON OF A DISABLED PERSON

VALENTINA O'CONNOR has been appointed

duallguacdian_af_the_pmon of MTCHAEL W- O'CONNOR .

a disabled person, and is authorized to have under the direr'.ion of the court of the custody of the ward and to do all

 

acts required by law.

"- 5 "._s'<’- "-, _ht!v 16. 2013

Dorothy Brown
Clerk of the Circuit Court

 

CERTIFICATE

l certify that this is a copy of the letters of office now in force in this estate

wrrNEsS. Julv 16. 2013

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Case 1:15-C\/- -06494 Document #: 1 Filed: 07/24/15 Page 15 of 152 Page|D '
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Case: §ZL:lB-cV-06494 Document #: 1 Filed: 07/24/15 Page 17 of 152 Page|D #:17
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Case: 1:15-Cv-06494 Document #: 1 Filed: 07/24/15 Page 19 of 152 Page|D #:19

  
    

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IN TIIE CIRCUIT COURT DF COOK COUNTY. ILLINOIS

The People oftl\e State ofl}lltlois COMPLAINT FOR PRELlMINA RY EXAMINATION
l’lainlifl'

v. N.,_ /G'l '5’ ,>% }j/

Michacl W O'Connor
Defendnnt

Patrycja R Wlosik

[Cornp¥linnnt's Nsme l*rinted or T)'pedl

'I'h¢ Circuit Court ol'Cook Connt'y and states that

complainant, now appears hcfa

 

 

 

 

 

Michael W O'Connor 10732 S Scc|cy Avc Chicago IL has, nn or abm
(D¢[end¢mt) {A¢.tdr¢ss]
_ 06-09-!2 at 11635 Bumlcy Dr Orland Park Cook County IL
mata |Pluc of offeose)
committed the offense of Cyberstalkigg_ in that sfh

 

 

knowingly and without lawfu.\ljustification on at least 2 separate occasions harassed._v'le victim through the use of`elcctronic communicatiol

and transmitted a threat of sexual assault M

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{Complninnot's Stgoatut'e)

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 
 

 

 

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Patrycja R W|osik
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hein first dul Swtlrn. Pal`fycja R WlOSik on oath. de oses and says that s/he read the foregoing
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complaint by him)'her subscribed and that the same is true.

%GJ Mék‘ Mé"“ l\‘\‘ C-$r¢ 915 pa'{"y£.`\*- 1444-bd

{Complainsnt‘s Signlture}

Suhscribed and sworn lo before me ",:S'o_qg \t.l

 

 

 

 

 

 

 

 

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G.J. NO. 737
GENERAL NO. l2CR-22315

CIRCUIT COURT OF COOK COUNTY
COUNTY DEPARTMENT
CRIMINAL DIVISION

NOVEMBER 2012
The People cf the State of
Illinois
v.
Michael O‘Connor

INDICTNENT FOR
CYBERSTALKING

A TRUE BILL

__. __*__

K*/ Foreman of the Grand Jury

WITNESS
Detective Eric Rossi

.....-..... ..-.\.-_..» .~....n.ss._.._. :__`.\. _'1.¢_“._1.. ,__,.l

Case: 1:15-Cv-06494 Document #: 1 Filed: 07/24/15 Page 21 of 152 Page|D #:21

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Case: 1:15-cv-06494 Document #: 1 Filed: 07/24/15 Page 22 of 152 Page|D #:22

Education

Coursework
Editing

Screenwriting

class**

Experience
201 1

Skills

Michael Wolf O’Connor
10732 S. Seeiey Ave.
Chicago` lL 60643
(7?3'] 312 0041
depaul address

DePaul linivcrsity, (_`hicago, lL

Bachelor ot`Arts in Mcdia and Cinema Studics
Expected gl'adualion: November 2012

Minor in Markeling

Film & Video Analysis and Aesthetics Video
Computer l-’rog,ran‘nninp1 &Advanced Math Applications
Theater Writing & Pert`orrnance - **add

Group Communication
Advanced Writing Rhetoric

Freelance Real Estate Contracting .lune 2011 .luly

`» Evaluated and appraised three properties to determine market
value. ' ` ' " ' _

¢ Devcloped marketing incentives and discounts to persuade future
buyers

¢ Utilized online resources to advertise top-grade properties locally
Conducted background checks on potential tenanls.

¢ Adjusted contracts for buyers to match property value and upkeep
of property

lligh School .lou rnalism lnstitute, University ot` lndiana 2006-
2008
Stcg[f Wt‘itcrjor (`urcrvrm New.\'le£ter
¢ Published over 20 articles on performance critiques._ careers.
theater. sports and opinion-editorial.
o lnterviewcd professionals athletes and community figures
¢ Cooperaled with editors and staff and meet publication deadlines

Fluem in oral Romanian. Prol'lcient in i,atin

l-’rol`lcient in Microsot`t Word. Excclt Powerl’oint. Access, Adobc
Photoshop. and Final Cut Pro

Basic HTML

 

 

 

Case: 1:15-cv-06494 Document #: 1 Filed: 07/24/15 Page 23 of 152 Page|D #:23

.»\ctivitics United States Boxing Commission
Hom'!mr.- .S'H'ee.' Ti)urm.unem r)f( '.-'n.'.'n;):`r,-n.r /ln'um'
¢ /-\warded First P|acc (.`liampion in 2000 & 2008
Sell`-Pul)lished (.`rcative Writing & l’oetry: “i\'lanifest l}cstiny“

 

 

 

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Case- 1-15_Cv-06494 Document #: 1 Fl|ed: 07/24/15Py,24 of 152 Pag

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christopher l._ Mircc

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Associalc .ludge of`the Circuit Court ol`l`ool< L`onnly l)istrict 5
10130 S. ?oth Avc.

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I am writing to you in support of my friend and DePaul colleague Michnel W.
O'Connor. l met Miehael when he was a l`rcslunan at DePaul and my roommate in the
dormitory. l found him to be a hard\-vorking. bright_ friendly g'uy. who has a natural talent
l`or writing and is highly intelligent By the time he graduated from Mount Carmcl I'ligh
Scllool, he wrote and published excellent articles and research papers in the Carnvan
(Moum Carmcl i-ligh School's‘newslclter)` was an accomplished wrestler and boxer who
won many gold and silver mcdals in the l~lS and Bourbon Strect competitionst made the
Honor Roll every year at M(,`.HS. interviewed Mayor Daley while writing for thc
L"aravan. and attended University of lndiana Summer High School .Iournalism sessions
obtaining many excellent letters l`rom his .lonrnalism prol`essor. Mike continued writing
poetry in college and a trilogy (Mom'{i’sr Ur-'srfnv)._ also excelling in many ot` his Del‘aul
classes and campus activities

llnf`ottunately. he is su ti`ering with Mixed Bipolar Disorder. At a certain timc.
Michacl's ciinician, Ms. Elisabcth Sullivan. asked me lobe a Personal Assistant for Mikc.
Although Michacl is compliant with taking his medications due to his Al)l{l`). sometimes
he literally t`orgets and might skip a dose - which might cause him to sometimes speak or
interact ina socially inappropriate manner Despite this deliciency. through his good
hcart. Mike has made a great impact on mc.

I appeal to your compassion_. your Honor, to please give my friend Michacl a
chance to graduate from the school he lovcs. and allow Mike to move on with his carccr.
since l am convinced that once he is stable on his medications Mikc could become one
ol`our greatest Amcric.an writers Through his kindness of` heart and natural writing lalcm.
Mich;lcl can help our society develop cultural Scnsitivity not only to other c.ulturcs. but
especially to the compassion and emotional needs ol`the mentally ill.

Rc.spectl`ul|_v yo_urst

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Case: 1:15-cv-0649.4 Dbcument #: 1l l:i|ed: 07 4/15` Page 25 of 152 Page|D #:25

lieu

. ._- - 1 _ l _ ' October19?2007
Re: Michael O’Connoi' l l

To Whom it May Concern: l - ' - ' - .

l

As a teacher at Motmt camel High`school, 1 have had are pleasure of tamm Michael
O’ Connor for over a year. He .ls a tremendous student and an asset to our school. I would like to
take this opportunity to recommend Michacl for your institution ` t

I feel confident that he will continue to'succeed in his studies. Michacl is a dedicated
student and thus far his grades have been exemplary In class, he` has proven to be a take-charge
person who is able to successfully develop plans and implement them. I require the students'in
my AP U.S. History class to take chargel in their own cducation. Michael is a self-motivated
student who consistently earned high scores in my class.

Michael is also currently taking my Introduction tolLaw class, and has demonstrated his
abilities tn oratory and critical thinking to a high degree Michael ts able to quickly identify a
legal problem and then resolve it.

It' is for these reasons that I offer high recommendations for Michael without reservation
His drch and abilities will truly be an asset to your establishment If you have any questions
regarding this recommendation,- please do not hesitate to contact me.

y " ‘ Siitcerely,

l l , _ : §§ / :<;/7.
Jeff`rey L. Enright, Esq.

Teacher-Mount Carmel I-Iigh School

MW

Fr. Guillermo Campmano, CNi
Director of Office of Peiigious Diversity
University Ministry

Case: 1:15-Cv-06494 Document #: 1 Filed: 07/24/15 Page 26 of 152 P ge|D #:26

DEPAUL »»
UNIVERSITY_ W F

 

 

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University Nh'nistq-

2250 North She{iielci Aver.t:.~_
Chicago, IIlinois 606`-.#1-3£`)?1*
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ianu_ary 21, 2013

To Whorn it May Concern:

iam writing today on behalf of Michael O'Connor who is right now in jail accused of § different criminal
charges l was Michael’s professor and mentor at DePaul University. | know that Michael has been
dealing with bi-poiar depression and the use of drugs. For what l know of Michael, | don't think he is
dangerous to our society. The long four months he has been in jail, | am sure, have been a hardship
experience for him to learn not to get in trouble in the future. From_my conversation with him last
week, -l know where his spirit is\ in terms of making a new life, dreaming, and correcting his own

mistakes

l ask that you consider notjust the accusations of today but the circumstances of his life that brought
him to where he was and is. l ask you to give him a new chance and to get the professional help he
needs to overcome the chaiienges of his life.

Thank you for your time and attention.

Sincereiy,

 

 

 

Cas\e: 1:15-Cv-06494 Document #: 1 Filed: O7/24/15'Page 27 of 15 jl§) #;27
TERRY F|NN, Ed.D. Nlay 28, 2015
Registered Clinical Psychologist, Certified School Psychologist
Nationally Certified Neuropsycho|ogist
221 North LaSa||e, Suite 400, Chicago, illinois 60601

10001 South Western, Chicago, illinois 60643

Phonet 312-907-2982 Fax: 3 12-944-1483 Fax: 773-238~7672

RE: Michael W. O’Connor
Dear Vour Honor:

i am Michae|’s Neuropsychologist and | worked with Dr. Gohkale, his psychiatrist We have
treated Michae| since 2008 for his Bipolar Psychosis, O.C.D., A.D.H.D., and anxiety A
neuropsychologicai evaluation has not been done since Nlichael’s 05-9~2014 assault by the
sheriffs in Judge Sullivan's Bond Court. This assault resulted, among other injuries, in multiple
head concussions, which have not been properly diagnosed, nor treated, for more than one
year (see attached Nlt. Sinai Hospitai's ER doctors’ statement). Due to lack of treatment for his
serious, potentially fatal head injuries, among other injuries, Michael suffered extensive
neurological damage to his brain. lSee Michael's recent statements)

Due to the lack of treatment after these assaults {traumatic brain injury, post~traumatic stress
disorder, and extreme anxiety), Michael is in immediate need of psychiatric/medical
_ intervention and treatment

We recommend immediate psychiatric and medical treatment due to the multiplicity of
Michael's disabling physica|, cognitive, and mental conditionsl

Sincerely,

Terry Finn
e Fin"’ M‘A' %j
"‘-...
censed Clini Psychologist #071-003165
Natlona||y Certit`led School Psycho|ogist (NASP) #1282316
Nationally Certified Neuropsycho|ogist

Speciai Teaching Certificate #2000703

 

 

 

CaSe:1:15-c\/- -06494 Document #: 1 Filed: O7/24/7]W`£Le 8 of 152 l

On May 26, 2015, at 8: 17 PM, Valentina O' Connor <v vocmoc mail. om>
wrote:

Mike just called and asked me to send an urgent message to his lawyer,
Rebecca. I took dictation over the phone:

"Rebecca, what are we going to do about the media? Mike needs to talk with
you, today".

Then he switched to the first person:

"I am scared. l need help today. I am afraid that my brain is going to shut
down my body. In April, I started having hammer pounding-like headachesl
They gave me Tylenol, but the Tylenol does not help: the headaches got worse
and worse. From the moment I get up, to the moment I fall asleep, I feel like
I'm going to fall over, about 30 times/clay.

“I am lightheaded all the time. like my brain is shutting down my body. I
found myself on the floor a couple of times due to blacking out. I twitch a lot,
uncontrollably, and, lately, because of my twitching, I can barely write."

(N.B., I, Valentina, can vouch for this, also, because, the last two times I saw
Michael, when he was in the Hole, I thought that he must be very cold, he was
shaking violently, I was afraid to even ask him, it was so strange that he could
not stop shaking. I-Ie, also, did stop writing exactly two weeks ago.)

Michael continued:

"I twitch a lot uncontrollably, I see bright lights and I hear loud ringing. When
l try reading, I get cramps in my brain and become nauseated.

“I can't keep standing in crowded bullpens, it's torture. My vision is impaired
and my migraines are so bad that I hallucinate - visual and auditory
hallucinations Due to migraines, my speech is impaired. I have trouble
enunciating.

“I am scared for my life. I think that l am going to die soon because of my
untreated head concussions, that my brain is going to shut down my body. I
need braces and need treatment for my concussions.

“Please ask the .ludge to put me on GPS, so I could get treatmentl I am not a
flight risk and I am not a violent criminal."

 

 

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Case: 1:15-Cv-06494 Document #: 1 Filed: 07/24/15 Page 29 of 152 Page|D #:29

20 south L.isallc TERRY FINN, Ed.D. mm gum western

Suitc 830 n l chistcrcd C|i`nical Psychologlst Chlcago. [llinois 600-13
C|v€r\sv. Illmm>‘ 60603 Coninod school psychologist Phooo; rrs_sss_aiuu /`
Fa_rt: 312-263-5953 Fax: ??3-238-"'6?2

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221 worth tss-site TERRY FINN, Ed.D. room south western
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Fax: 312-944-1483 l\"tltiona|iy Cenil'iod Ncurops_vchologist F:nt: ??3-238-?6?2
Dccembcr 13. 2014
lll:`: Micliac| O`Conncr
To Whom it May Concern:
Michael's DSM-S Diagnosis includes Mood Disordet and Mixcd Bipolnr v
Disordc:r with Obscssive C`ompulsivc Disordcr along with an Attention Deficit
Hyperactivity Disorder. His Obsessivc Compulsive Disorder is the driving force for
him to habitually call thc giri in thc family that ht: is forbidden to do by i.hc Court. His
obscssivc behavior is directly related to his Obscssive Compulsivc Disordcr.
For further lnformation. please call 312-907~2932.
Sinccrcly.
Teny Finn. M.A..'Ed.o.
Licensed Clinit:al Psycho|ogist
#0’?1-{}03 165
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Case: 1:15-Cv-06494 Docu t#: 1 Filed: 07/24/15 Page 31 of 152 Page|D #:31

OL/_<\\ SUDHIR M. GOKHAL.E, M.D.
/ HARCHARAN SANDHU. M.D.

GINA CHMELA, NP-C

To Whom it may concern,
Re: Michea| O'Connor

DOB: 05/18/1990

Michael is being treated by Dr.Gokhale. I-le has been a patient here since 2009. He is being seen
for medication management with a diagnosis of Manic-Depressive Psychosis. He has been
compliant with his visits in our office

 

05/18/13

 

". SOUTH ClCERO AVE. SUlTE 202 OAK LAWN. ll_ 60453 TELEPHDNE i'708] 636-221 1 FA.`K (708) 636-5552

 

Case: 1:15-Cv-06494 Document #: 1 Filed: 07/24/15 Page 32 of 152 Page|D #:32 /~

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Case: 1:15-Cv-06494 Document #: 1 Filed: 07/24/15 Page 33 of 152 Page|D #:33

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Case: 1:15-Cv-06494 Document #: 1 Filed: 07/24/15 Page 36 of 152 Page|D #:36 /;)§r"~

 

 

 

 

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Case:1:15-c\/- -06494 Document #: 1 Filed: 07/24/15 Page 40 of 152 W
l STATE OF ILLINOIS )
3511

COUNTY OF COOK l

THB PEOPLE OF THE
STATE OF ILLINOIS,

MrcHnEL o'coNNoa,

of the above-entitled cause, before the Honorable
JOHN JOSEPH HYNES, one of the Judqes of said

District, on the Zlet day of November, 2012.

Elizabeth A. Proietti
CSR #084-002544

10220 S. 76th Avenue
Bridgeview, IL 60455

 

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r ML

IN THE CIRCUIT COURT OF COOK COUNTY, ILLINOIS
FIFTH MUNICIPAL DISTRICT

Plaintiff/Respondent,

12-CR-1278

2
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VS.

Motion to Reduce
Bond

Defendant/Petitioner.

REPORT OF PROCEEDINGS had at the hearing

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APPEARANCES:
l

HON. ANITA M. ALVAREZ,
Cook County State' s Attorney, by:
i&L _KP_TLYN COAVLEY _
Ass1stanc State s Attorney,

on behalf of the Plaintiff;

MR. SHAY ALLEN,
on behalf of the Defendant.

 

 

 

 

 

1 * `1 the defendant' s appearance herer or where are we
y 2 at?

3 MR. ALLEN: No, your Honor. Your Honor, last
4 week I filed a Motion to Reduce Bond with the

5 l State.

6 THE COURT: All right.

? MR. ALLEN: And`~-

B THE COURT: Wellr when we get an opportunity,
9 we'll bring him up here, and then we'll have that
10 hearing.

ll ' MR. ALLEN: Thank you.

12 (Whereupon, the case was passed
13 and recalled as follows:]

14 THE CLERK: Michael O'Connor, custody.

15 THE COURT: All right, this is Michael

16 O'Connor. Counsel?

17 MR. ALLEN: Good morning, your Honor. Shay
18 Allen on behalf of Mr. Michael O'Connor.

19 Your Honor, we're here today on my Motion to
20 Reduce Bond with regards to Mr. O'Connor.
21 ' THE COURT: All right.
22 MR. ALLEN: I have, um, live testimony I would
23 like to present with regards to a -- a Dr. Terry

 

24 Finn, who is here today, in regards to the Motion

 

 

 

 

 

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Case: 1:15-Cv-06494 Document #: 1 Filed: 07/24/15 Page 42 of 152 Page|D #:42

to Reduce Bond.

THE COURT: All right. All right, um, are you

ready now, State, or you need a second here?

MS. COAKLEY: No, that's fine, Judge, we just
did this.

THE COURT: You have an oral motion, is it?

lIs it -~ or did you file something?

MR. ALLEN: I -~ I filed it, Judge.

THE COURT: All right. Take a look at it.

MS. COAKLEY: Did you include a resume for
your doctor?

MR. ALLEN: Nor but I have one.

MS. COAKLEY: Thank you.

THE COURT: All right, I've had an opportunity

ito review the motion. All right, defense, you want

to present evidence then?
MR. ALLEN: Yes, your Honor.
THE COURT: All right. Um, you can be seated.
You can then call your first witness.
You can raise your right hand and be sworn,
ma'am.
(Witness sworn.)

THE COURT: Have a seat.

MR. ALLEN: Good morning.

 

 

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Case: 1:15-Cv-06494 Document #: 1 Filed: 07/24/15 Page 43 of 152 Page|D #:43

 

 

l THE WITNESS: Good morning.

2 THE COURT: The microphone is turned on. If

3 you lean forward --

4 THE WITNESS: Okey-dokey.

5 l THE COURT: -- it will pick up your voice.

6 THERESE FINN,

? Called as a witness on behalf of the

8 Defendant/Petitioner herein, having been first duly
9 sworn, was examined and testified as follows:

10 DIRECT EXAMINATION

ll BY

12 MR. ALLEN:

13 Q Please state your name?

14 A Therese, T--h-e--r-e-s--er Finn, F-i-n-n.

15 Q And what is your profession?

16 A Clinical psychologist.

17 Q Okay. end where did you go to college?

18 A College? I went to University of Illinois
19 at Chicago.

20 Q Okay. And where did you go after that?

21 A I went to Northeastern Illinois University
22 to get a Master‘s in Speoial Education. Then I

23 went to Loyola University for a Doctorate in
24 Clinical Psychology.

 

 

 

 

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Case: 1:15-Cv-06494 Document #: 1 Filed: 07/24/15 Page 44 of 152 Page|D #:44

 

 

l Q Um, since you -- after receiving your

2 Doctorate in Clinical Psychologyr where did -- where
3 did you work after that?

4 A 1 worked at a hospital on the south sider

5 Holy Cross Hospital as a neuro psychologist working
6 with traumatic brain injuries and depression cases.
? 1Also, worked in the Chicago Public Schools as a

8 neuro psychologist doing a lot of the trauma

9 victims, beatings, gunshots, for about 25 years.

10 And private practice since about 1989 with special
11 ed children, attention problems, depression.

12 Special population in clinical problems.

13 Q And, uh, so about how many years of

14 experience do you have in your field?

15 A Probably 32. Thirty-two years.

16 Q And what, in particular, would you consider
l? lyour specialty?

18 A Probably neuro psychology.

19 Q Okay. And what exactly is neuro psychology?
20 A It*s the brain behavior relationship, and
21 it's usually brought on by trauma or illness.

22 Q All right. Um, have you had the opportunity
23 to meet with Mr. Michael O'Connor?
24 A Yes.

 

 

 

 

 

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Case: 1:15-Cv-06494 Document #: 1 Filed: 07/24/15 Page 45 of 152 Page|D #:45

 

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1 Q Okay. And when did you start -~ when did

2 you first meet Michael OtConnor?

3 A' July 24th, 2012.

4 Q And after July 24th, 2012, how many times

5 have you -- about how many times have you met with

6 Mr. O'Connor?

? A Four.

8 Q Now, as part of your treatment in dealing

9 with Mr. O'Connor, did you also have an opportunity

10 to speak to his psychiatrist?

11 A Yes.

12 Q And is his psychiatrist a Dr. Sudhir, which
111 13 is S-u-d-h-i-r, Gohkale, which is G~o-k-h~a-l-e

14 {sic}.

15 A Actually it's G 0 H K A L E. He's hard

16 to ~-

l? Q Oh, okay.

18 A Yeah. Yesr I did. He referred Michael to

19 me. He had been seeing Michaelr I think, since

20 about 2010, and diagnosed him with bipolar

21 disorder, attention deficit disorder, anxiety, and

22 depression.

23 Q Nowll in -- in your, um, dealings with

24 Michael, what have you been able to ascertain in

 

 

 

 

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Case: 1:15-Cv-06494 Document #: 1 Filed: 07/24/15 Page 46 of 152 Page|D #:46

regards to his danger to society?

A I don't believe he‘s a danger to society.

Q And why is that?

A Um, because he is more depressed, and he's
more suicidal ideation. More a danger to himself.

Q But not to others?

A No.

Q All right. Now, um, in regards to coming to
that conclusion in regards to his danger to others,
did you also have an opportunity to speak to his
psychiatrist about his danger to others?

A Yes, 1 talked to Dr. Gohkale November
16th, 2012, and because he had known Michael longer
than 1 have, and I asked him that question, and he
said -- he also agrees that he is not a danger to
himself {sic}.

MS. COAKLEY: I'm going to object to hearsay.

THE COURT: Well, it won't be offered for the
truth, just it‘s something she took into account.

MS. COAKLEY: That's fine, Judge.

THE COURT: All right, go ahead.

BY MR. ALLEN:
Q Now, um, Doctor, as part of your ~- your

treatment of Michaelr you}re also able to analyze and

 

 

 

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Case: 1:15-Cv-06494 Document #: 1 Filed: 07/24/15 Page 47 of 152 Page|D #:47

 

 

1 look at what medications he's prescribed for his

2 illness?

3 A Yes. I am not an M.D., but 1 do have to
4 know -- have knowledge of psycho pharmacology for
5 various disorders.

6 Q And from that, you‘ve had the opportunity to
1 review Dr. Gohkale's notes in regards to the

8 medications that Michael has been receiving?

9 A Yes.

10 Q Do you remember what those medications

11 include?

12 A Yes. Depakote, D-e-p-a-c -- c-o-t-e --
13 k~o~t-e. Adderallr A-d-d-e-r-a-l-l. Vyvance,

14 V~y-v-a-n~c-e. Zyprexa, Z-y-p-r~e-x-a. And 1

15 believe Zoloft, Z-o-l -~ Z-o-l-o-f-t. Sorry.

16 Q Which of those medications are particulars
17 for the bipolar, and which are for the ADHD?

18 A The Depakote is for bipolar, and the ADHD
19 is Vyvance and Adderall.

20 Q And the Depakote for the bipolar, what

21 exactly does that medication do?
22 A It, um, evens out the chemicals in the

23 brain so that he -- that, in other words, with
24 bipolar there's ups and downs, more agitation

 

 

 

 

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Case: 1:15-Cv-06494 Document #: 1 Filed: 07/24/15 Page 48 of 152 Page|D #:48

 

 

1 and then with depression, so it -- it tries to even
2 out the brain chemistry.

3 Q And the medication for the ADHD, there were
4 _two. What do those do in particular?

5 A What do they do?

6 Q Yes.

? A They help him with focus and conversation.
8 And, um, also, if he's in schoolr he's in DePaul

9 University, and, um, for learning and lectures it
10 also helps with processing verbal and auditory

11 information.

12 Q Now, um, in dealing with Michael, have --

li 13 have you also had the opportunity to review the

14 lmedications he's been receiving since he's been in
15 custody?

16 A Yes.

1? Q And do you remember what those medications
18 are?

19 A No, I don't. There were two, I don't --
20 I‘m sorry, 1 do not.
21 Q Okay. Uh ~-
22 A One was unfamiliar to me. So. I can't
23 remember.
24 _ Q Is your memory exhausted as to what

 

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Case: 1:15-Cv-06494 Document #: 1 Filed: 07/24/15 Page 49 of 152

  

    

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medications Michael has been taking since he's been
in custody? Do you remember?

A No, I don't, I forgotr I'm sorry.

Q Okay. Is there anything that would help you

remember if you saw it?

A Yes, the -- the hand notes that describe it.
Q Okay.
A Sorry.

MR. ALLEN: I'm going to show the Doctor
what's been marked as Detendant‘s Exhibit 1 for
refreshing her recollection, which is just the
Cermak -- (inaudible conversation).

THE COURT: Do you need a second to review
those?

MS. COAKLEY: Yeah, I'm just looking quickly,

Judge. This is the first time 1 found out there‘s

other discovery he didn't give me.

FHE COURT: Sure.

Do you want to recess here?

MS. COAKLEY: No, that's -- that's fine,
Judge.

MR. ALLEN: May I approach, your Honorr I'm
sorry?

THE COURT: Go ahead.

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MICHAEL W. O’CONNOR
Defenda_nl..

MOTION TO REDUCE .BON.D
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NOW COMES the Dei`enda_nt, MICHAEL W. O‘CONNDR, by and through his

attorney, Lee Br. Fairma.n LLP and pursuant to 725 ILCS 5;'110.6 moves thi
Court to reduce his bond.

in support of said motion the defendant asserts the following:

l, He is 22 years of age.
2. That he has resided in the Chicago-la_nd area his entire life.
3. He is a graduate oi' Mount Cai'mel I-Iigh School. Whilc at Mount Ca.rmel
he was enrolled in Honors and Advanced Placement coursesl
. 4. That he currently resides in Chicago, Illinois.
5, He is a Senior at Dc:Paul Universiry where he has 140.5 credits 192
credits are need d to graduate and with his course load he was

scheduled to graduate in 2013. His major is Communicarions with a

o. l-Ie has written a novel Manii'est Desdnj,' which is part one of

trilogy-Foundation Sunrise. He has been contacted by publishers 1

rights to this book.

a three part

or the

7. He has no prior felony convictions and one misdemeanor arrest that was

scheduled to be dismissed b_v the State before this arrest

B. That the current bond is set at $300,000£) and is quite oppressive for a

Ciass 4 felony.

9. The evidence the State has prescribed to the court to obtain this bond
does not give a complete picture as many oi' the text messages and
emails sent by Patr_vcja W]osilc to Michaei O’Connor have noi beer

presented

10. Withour being ou1 of custody Mr. O'Connor cancer effectively assis'i in

his defense

11. Mr. O‘Conno:' cannot effectively assis=. in his defense in custody becausel
we will need to search his eniail accounts and text messages to help

obtain evidence

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he is not being pro;::erl_\v medicated in Coolr Count}‘ dall

In addition Mr. O`C,'onnor cannot effectively assist in his defense because

 

 

Case' 1'15-Cv-06494 Document #: 1 Filed: 07/24/15 Page 51 of 152 Page|D #:51

Mr. O’Connor`s

ave the resources to'
properly care for Mr. O‘Cotmor’s mental health or his physical well being

beaten by a fellow inmate and in turn Mr.

The statute violations Mr. O’Connor"s First Arnendment rights to freedom

That the Defenda_nt does not pose a flight risk due to the fact that he has

13.
crafted a particulai combination ot medications for
chemical composition that allow him be a produc?’ye member of society.

14. Cook County Depai'tment of` Corrections does lt
for matter.

15. Mr. O‘Connor was severely
D‘Connor_has become quite fearful and paranoid

lt').
towards Ms. Wlosil:.

l?,
strong ties to the cormnunit_vl

18- The current bond is not cunsidcratc of

the iinancial al'_:ilit_\,l ol' the
accused1 in that he is a student.

WHEREFDRE Defendant prays this honorable Court reduce his bond or
other relief that this Court deems equitable and just.

 

 

Lee P.-. seaman LLP ,.'-F

Firrn # 48891 ' »
"1'8300 S- Dixie Highway, 2'"‘ Floor

I-iornewood. li., 60430

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F 708-?99-4849

 

 

Case: 1:15-Cv-06494 Document #: 1 Filed: 07/24/15 Page 52 of 152 Page|D #:52

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lN THE CIRCUHE€MGF\CUGK COUNTY, ILLINOIS
COU|'\IT\ll |%EPQH|Y|EN'§}FR||MP|BAL DlVlSION

PEoPLE oF THE srATE ol= lLuNols, R;._-'H-,- a W_t,
awaits-gaddis cl ' nat saint

Plaintlff, )
v. l Nos. 12 CR 1267801
MICHAEL D’CONNOR, l
Defenda nt. l
MDT|DN TO VACATE HIS PLEA

 

NOW COMES the Defendant, MICHAEL O'CONNOR, respectfully requesting that this

Honorab|e Court allow him to vacate his plea. in support of this request Defendant states the

following:
1. This plea was not knowingly or voluntarily made. `
2. Thls Motlon is being filed by the undersigned counsel at the Defendant’s request

The Defendant has been advised that counsel will not present this motion to the court or argue the
same and has been advised to seek other counsel if he wishes to move forward.
WHEREFORE, the Defendant requests that this court allow him to vacate his plea, and for

such further and other relief as this Court deem just.

Respectfully submitted,
MlCHAEL O'CONNOR, Defendant

By:

 

One of His Attorneys

sTEvEN A. GREENBERG
53 w. JAcl<soN Btvo., sulTE 1260
cchAGo, lLLlNois sosna

(312) 379-esaa

ATroRNEY No.: 15703

 

 

Case: 1:15-Cv-06494 Document #: 1 Filed: 07/24/15 Page 53 of 152 Page|D #:53

IN THE CIRCUIT COURT OF CODI{ COUNTY, ILL|NOIS
COUNTY DEPARTMENT, CRIM|NAL DIVIS|ON

 

 

 

PEOPLE OF THE STATE OF lLLlNOlS, )
' l
Plaintiff, )
)

v. ) Nn. 12 ca 22315
J
MICHAEL O'CONNOR, )
l
Defendant. )

MDTION TO VACATE AND D|SM|SS
NOW COMES the Defendant, MlCHAELO’CONNDR, by his counsel, Steven A. Greenberg,

requesting that this Court dismiss these cases. ln support of this request, Defendant states as

follows:
1. Defendant was sentenced to TASC probation.
2. Defendant has successfully completed the TASC probation.
3. Defendant filed a timely Motion to Vacate his convictions

WHEREFORE, the Defendant requests that his conviction be vacated and this case be

dismissed, and for such further and other relief as this Court deem just.

Respectfu|lv submitted,
MICHAEL O’CONNOR, De‘lendant

Bv.'
n His Attomevs

sTEvEN A. GREENBERG
53 w. rAcicsoN aLvn., suits 1260
cchAGo, lLLlN`ois 60604

(312) 379-esco

`A'rroRNEY No.: 15703

 

 

     

/ Case: 1:15-cv-O "
\l/ -- ~ _--

had issued. on behalt`ot" the girl, is the one .ludge Hynes and the Orland Park Township, in .ludge
McGuinee's Court referred to, but: when l asked Michael about it, he told me that he bid that order, and
the Sherii“`l` who delivered that Order knew, or should have known, that Michael is mentally disabled,
since Michael did tell him, when he came to our door, with that Order, that he is Bipolar and that l am
his legal guardian Also, when l called Attorney Tom Niedham‘s office for help for my son being
interrogated by the Orland Park Po|ice, on June 15, Mr. Niedham wrote a letter to the Orland Park
Police, explaining to them that Michael is chronically mentally ill and giving them a list of the
psychotropic medications that Michael takes - see attached). T he orland park Police and the Sheriit`
who delivered that Temporary order of protection, should have known that Michael, being mentally ill
and living at home, Michael's parents needed to be informed, that Michael needed a Law Guardian and
that I. as l introduced myselt`to the Orland Park Police several times, to the Orland Park Mayor
McLaughlin, their Township manager, Mr. Grim, etc, on 6!15!2012 and attenvards,l am Michael's
Legal Guardian. l searched and found out that the temporary order was issued on 6!11!2012, and
Michael stopped talking with the girl on 6!10!2012, which , again, invalidates the Orland Park policc‘
charge that Michael(or myself for that matter) violated their order. I communicated this to Mr Dalkin,
but, even the fact that he brings it up again, shows that he did not even care to listen to what I said_. and

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In response to Mr. Dalkin's letter of response( his third paragraph): Mr. Dalkin, who1 instead ol` filing a
motion for trial and collecting discoveries, asked my son to sign a Pcrrnission form for Mr. Dalkin to
review Michacl's “good standing” at DePaul1 his grades, his extra-curricular achievements, published
material. etc.(which Mr Dalkin explained to my son and to me. is in order for him to persuade the
.ludge that Michael is a mcritory student). Mr. Dalkin, as he states in his response to your inquiry, “sent
a subpoena to DePaul University Student Ai"t`airs to secure a copy of Michael O'Connor's disciplinary
lile”. l know that if you would ask him this question, he would. most probably, lie to you too, and say
that it was only to show the .ludge that Michael has no discipline issues. Once again_, Mr. Dalkin should
be paid for this by those he worked t`or, since securing a copy of my son's disciplnary lile(which I
demand to be returned immediately to us, since it was obtalned on deceptive basis). and which I am
sure does not contain incriminations of my son, otherwise l would have heard them in Court-, does not
seem to serve my son's defense, but to do theij of Mr. Dalkin's personal l`riend, Prosecutor Lowler.

now, that he stated it. my suspicion that he worked with the Prosecutor, being influential in arresting
and jailing my son t`or. over 165 days. without a trial. in Maxirnum Security. where my son was beaten
almost to death, my suspicion that the entire summer, instead of working on my son's defense, at least
answering my son's and my desperate phone messages. he was busy providing the Prosccutor with
information to incriminate my son. - is strengthened l' hope that you agree that l should not have paid
For hurting my own beloved son.

Between September 13 and October 29, Mr Dalkin claims that he was contacted by Ms. Lowler who
informed him that she will file additional charges against my son. Mr. Dalkin never told me that until
two days before my son was arrested in Bridgeview Court. in my presence1 on October lS. 2012. He
called me approx. on October 1?. and told mc that l "‘should bring more money" to Court. since the
.ludge will charge my son with more crime. i was desperate, and asked Mr. Dalkin what is this about.
and ii` my son will he arrested again, and i`or- what crime, and how much money should l bring. but Mr.

 

 

 

` lD #:55
Case' 1'15-cv-06494 Document #: 1 Fl|ed: 07/24/15 Page 55 of 152 Page

Dalkin did not answer my questions, except, l`or the first time, since l hired him to defend my son, Mr.
Dalkin spoke a bit about my son' nine criminal charges now. saying that, if he would be the parent of
that girl, he.would have done the same(i.e. delegate the police of Orland Parld'Bridgeview Court to
prosecute him -please note that the girl is 20 years old) , and for the first time, Mr. Dalkin, read to me
some statements on a venting section of the Craig's list that my son made, leading to this new crimes
charges. and as I took notes, my son, said, “the girl disappointed me-he stated the girl's name-, I wish l
had never met her, from now on, [ will take care of the little boy inside me and, as she is driving her
new car now, with her boyfriend, l wish she would have an accident, and l think she is a On
October 18, 2012, Ms. Low|er, the Prosecutor friend ot`Mr Dalkin, only read the last part of` the
paragraph, i.e. the derogative word (‘YI think she is a ...”, after which, she shouted to the .ludge to have
Michael “lockcd up”, because “he is a danger to society”. Noone of`Michael's five previous
psychiatrists not even four jail psychiatrists, nor his teachers, nor his friends, nor his l`riends' parents,
nor his Mount Carmel High School coaches, nor his counselors, EVER called Michael a “danger to
society”. but Mr. Dalkin did not even respond to that. Should l pay him f'or his accomplice silence? He
did not have to request a Behavior Clinical Exam, since l gave him multiple mental health and behavior

not plead 'l`or Michael's defense, Mr Dalkinjust went along with their previous plans to send Michael to
jai l(t`or over 165 days), sarcastically and in a bullying manner, stating that Michael should be"treated in
jail“, maybe even killed, if he does not plead guilty, or incriminate him more, since, without his meds.
Michael might act out inappropriately or if`, provoked by real criminal inmates, he might end up
fighting back, so that the prosecutor and Mr Dalkin would have their criminalizing of my son's mental
illness, validated, and Judge l-Iynes would have a reason t_o finally sentence Mic_hael to prison. When l
was in Court with Michael, on Oct.lli, 2012. what Mr. Dalkin said, was that he wanted to li nd out if` his
client is “able to stand trial“ and to understand Miranda Rights(even il` Michael would have been able
to understand Miranda, he would not have had a chance to_. since the Orland police bad Michael initial
the Miranda only after they coerced Michae| to sign a statement that they wrote). Judge Hynes ordered
a Forensic Mental Health 'evaluation, that is to be done in jail. l am convinced now, that this has been
arranged prior to the Oct 18, 2012, between Mr. Dalkin, and.his friends, prosecutor Lowler and Judge
Hynes, i.e. that they wo'uld ignore all the prior mental health evaluations of` Michael. just to keep
Michael in jail for a long time. and to force Michael into a wrongful conviction Can anyone blame me
f`or wanting my money back and/or for not being able to forget the nightmare Mr. Dalkin caused in our
family and especially in my son's life? Mr. Dalkin also, asked me, on October IS, 2012, if` l called the
State Attomey Ol`lice. to ask them to inform Ms. Lowler that Michae| has a mental disability and l
acknowledged l did(why did l have to and WHY didn't Mr Dalkin do hisjob?), at which Mr. Dalkin
commented that Ms. Lowler “did not like this". And this is why. as my son told me, he was taken out of`
the prisoners's line going to regular_iail. as the sheriff told him that he has to go to Maximum Security

iii

2012. when he was taken f`or a day from the Max Security, by the Top Crimc Suburban Squad, back

weeks, he couldn't open his mouth f`or l`our days. his eyes' muscles and his gurns pcrmamanently
damaged as this killer inmate wanted to separate Michael's head from his body. hiring him on the neck
and hanging his head on the concrete lloor for 20 minutes without the guards intervening until my son
\.vas almost dead. lett with two permanent hypertensive lesions under the cortex of` his Right brain

lobe. permanent 'l`Bl. plus PTSD). by an inmate who was n tillm- .\,.,i ...i.-_

 

 

 

 

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Case: 1:15- - ` l
cv 06494 Document #: 1 Fl|ed: 07/24/15 Page 56 of 152 Page|D #'56

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Please allow me to stop explaining why l think that Mr. Dalkin should return my money, since it is
mostly a symbolic act, otherwise l would feel to me that l paid immoral law people to wrongfully
incriminate, prosecute and fatally harm my beloved son. Also, since lam extremely scared of Mr
Dalkin and his powerful friends, please do keep this response confldential: my son is still in their
hands, and l am very afraid that l myself could be arrested or killed by their “arrangements”, since, if l
would disappear, noone would be lighting forjustice for my son anymore. Please do kindly understand,
maybe you are a parent also, please try to understands my fear1 1 am an immigrant to this country and l
grew up under communism, fascinated by the human rights respect the US displays and whatl lived
through my son's misrepresentation by people like Mr.Dalkin not only challenges my faith in
humanityor in the judicial system, but it t`reezes the blood in my veins. On the other hand. as you can
see, by my courage to even share some evidence l collected, with you, l still hope that one day. the
good people and parents of the mentally ill, many of whom l had the honor to meet, will prevail in their
demand that the mentally ill be treated with dignity and humalnly rather than incriminated and denied
the mental health services they should be given instead of punishing them`l`or their mental illness and
making them more sick. l am a Special Education teacher and,l`or more than twenty years, l worked
with mentally ill children in both private and public schools in this country and as you can imagine, l
arn a strong advocate(and very hard worker) for their rights `

Sincerely yours. r
Valentina O‘Connor's M

N.B. Re: the phone callslrnessagcs that my son and l, in desperation. madelleft for Mr. Dalltin, it was
only because he never responded, except three times, when l hired hlm, when he admonished me that l
called, and the only time he talked with me about my son's case, was the previous day before the (Jct
18 Court appearance Even if the numbers of messages he claims we left were true(although l suspect
he is greatly exaggerating)1 since he never used our information to file motion for trial or to defend
Michael, since he did not respond to our messages. except twice, to admonish me and right before Oct
IS. 2012- makes me believe that he never even listended to them. Also, regarding my son's file, he
NEV ER collected any discoveries nor does the tile contain any evidence of Mr. Dalkin having put in
any work for my son's defense(as per the lawyer to whom Mr. Dalkin claims he gave Michael's l`\le).l

l/D(B'»-~

 

 

 

 

Case: 1:15-Cv-06494 Document #: 1 Filed: 07/24/15 Page 57 of 152 Page|D #:57

` DEPAUL
\ UNIVERSITY

 

Dea_o of Studenm C|ffice
no 307
November 21 , 2012 magith santana revenue
chicago. name summers
_ 773:325_?290
Mr. Michael O'Connor FAx: walsza?sgs
cfo moconn3 6@mail.d§gaul.edu
10732 S Seeley Ave
Chjcago, IL 60643

Dear Mr. O'Connor,

The Dean of Students Ot`lice has received information that in at least January 2012 and
October 2012 you have demonstrated "behavior that endangers [you] or that creates a
direct threat that you might .danger [yourselt]" and!or "hehavior that endangers others,
or that creates a direct threat that [you] may endanger others."

As such, effective immediately, I have made the decision to temporarily involuntarily
withdraw you from the Urriversity pursuant to the lnvolunM Withdrawal policy.
,,..

*.

In order to return to DePaul, you must meet the following conditions:

l. You must provide documentation li'om a mental health care provider indicating
that your behavior does not endanger yourself or create a direct threat that you
might endanger yourself and that your behavior does not endanger others or create
a direct threat that you may endanger others.

2. You must meet with a mental health professional for an evaluation li` the mental
health provider specifies a treatment plan, you must you must fully participate in
and comply with that treatment plan for at least six months or, if the mental health
professional specifies a treatment plan of less than six months, for the duration of
the treatment plan; and provide verification of that participation and compliance
In order to verify this, you must sign a release of information form from the
provider who evaluates you so that information ca11 be exchanged between the
provider and appropriate University personnel, including mysele My contact
information is:

Art Munin, Dean of Students
DePaul University

2250 N. Sheflield, R.oom 307
Chjcago, IL 60614

(7?3) 325-7292

amunin@dgpaul.edu

 

 

 

 

Case: 1:15-Cv-06494 Document #: 1 Filed: 07/24/15 Page 58 of 152 Page|D #:58

 

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STATE or rumors ) tv

° ) SS:
2 CoUNTY or C o o a ) /
3 IN THE CIRCUIT COURT OF COOK COUN‘I'Y, ILLINOIS
COUNTY DEPAR'IMENT - CRIMINAL DIVISION
4
THE PEOPLE`. OF THE S'I'ATE )
5 or ILLINoIS, )
)
6 Plaintiff, )
)
7 vS. J No. 14 CR 8935 (01)
)
8 MICHAEL O'CONNOR, )
l
9 Defendent. )
10
ll REPORT OF PROCEEDINGS had at the hearing of
_ 12 the above-entitled cause, before the Honorable ROSEMARY 1
ii 13 G. HIGGINS, dodge of Said court, on the 4th day of
14 September, A.D. 2014. f
15 PRESENT:
16 HON. ANITA M. ALVAREZ,
State'e Attorney of Cook County,
17 BY: MS. BRIDGET O'BRIEN,
ASSiStant State‘s Amtorney,
18 On behalf of the People;
19 LAW OE'E'ICES OF ALLEN T. Sl-IAY
BY: MR. ALLEN T. Sl-IAY,
20 On behalf of the Defendant.
21

22 Carolyn C. Brown, CSR No. 084-003848
Official Court Reporter - Circuit Court of Cook County
23 County Department - Crindnal Division

 

 

 

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CaSe: 1:15-Cv-06494 Dooument #: 1 Filed: 07/24/15 Page 59 of 152 Page|D #:59

 

§?. 1 THE CLERK: Michael O‘Connor, three mattera.
2 THE CLERK: He needs to be arraigned, Judge, he has
3 three caaee.
4 THE SHERIFF: Coming out.
5 MS. O'BRIEN: Ebr ASSiatant State‘e Attorney.
6 THE COURT: Nd; Allen could you State your name for the
7 record, please.
8 MR. ALLEN: Yes. It'a Shaylallen. Eirst name is
9 S-h-a-y. I'nihere on behalf of Mr. Ndchael O'Connor,
10 who is standing to my right in open court.
11 THE(IIEHE De you're aware Mr. Allen, Mr. O'Connor has
n 12 a new matter pending before the court for today. For
ky 13 purposes of arraignment are you filing your appearance
14 on that caae? l
15 MR. ALLEN: 1 am, your Honor.
16 THE CIXHLF: Leave to file your appearance on that case
17 is granted. I am tendering a copy of the charging
18 document on that aggravated atalking charge -
19 MR. ALLEN: Thank you, your Honor. 1 acknowledge --
20 THE COURT: -- in violation of the civil liberty.
21 MS. SHEA: 1 acknowledge receipt of a two count
22 indictment here, waive formal reading. There will be a
23 plea of not guilty. 1'11 make an oral motion for
ll 24 discovery. I'll follow it with a written motion for

 

 

 

 

 

 

 

` #:60
Case' 1'15-Cv-06494 Dooument #: 1 Fl|ed: 07/24/15 Page 60 of 152 Page|D

 

 

 

1 discovery, your Honor.
2 THE GOURT: Thank you. State.
3 MB. O'BRIEN: Your Honor, we are also making our motion
4 for discovery as well as asking leave to file our
5 answer for discovery. 1 have tendered discovery to
6 Mr. Allen today. The only matter outstanding is a
7 photocopy of a letter, once 1 have that retrieved from
8 ERPS, the letter, that would be at the crux of this
9 matter, and then discovery on this case will be
10 complete.
11 Additionally, your Honor, for the record,
N_ 12 this matter was a direct indictment. Mr. O'Connor
EF 13 has yet to have a bond hearing on the new case.
14 THE COURT: Would you like to proceed with that bond
15 hearing now?
16 MS. O'BRIEN: 1 would, Judge.
17 THE COURT: GO ahead.
18 MS. O'BRIEN: 1 am today filing with the court the
19 State's petition for a hearing on denial of bail
20 pursuant to 11linois Compiled Statutes, Section 5 dash
21 110 dash 6.03. That familiar statute allows for
22 petition for discretionary no bail hearing when the
23 defendant is charged with the felony offense of

24 aggravated stalking, which is the charge alleged in the

..-_ --___.-_.._._~,._-....____._.._ .

 

 

 

 

 

 

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Case: 1:15-Cv-06494 Dooument #: 1 Filed: 07/24/15 Page 61 of 152 Page|D #:61

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new matter before the court, 14 CR 14553.

Judge, the State brings this petition and
believes that the proof is evident and the
presumption is great that the defendant has, in
fact, committed the offense of aggravated
stalking, in that,l on or about duly 17, 2014, the
defendant made contact with the victhn. That
contact was in direct violation of a civil no
contact order under Case No. 120P50369.

Additionally, it was also in direct violation
of the conditions of the bond in the case also
pending before your Honor, 14 CR 8935 and
14 CR 10369, in that, the defendant mailed the
letter to the victim at her residence. This act
was in furtherance of a course of conduct directed
at the victimbr which caused the victim to suffer
further emotional distress and mental anguish.

Based on those facts, your Honor, we would
ask that the defendant be held no bond.

THE COURT: What is the evidence that the State has to
present that the defendant sent that letter?`
MS. O'BRIEN: Your Honor, the letter, on the envelope
had as a return address the defendant‘s name.

Additionally, your Honor, the victhu would testify that

 

 

 

 

Case' 1'15-Cv-06494 Dooument #: 1 Filed: 07/24/15 Page 62 of 152 Page|D #:62

 

 

1 when she opened the letter the letter was, in fact,
2 signed by the defendant Mr. O'Connor. That she's
3 received several of these letters in the past. She
4 recognized the handwriting to be that of the defendant
5 Mr. O'Connor.
6 THE COURT: What was the content of the letter?

7 MB. O'BRIEN: Your Honor, again, in this letter the

8 defendant is continuing his ongoing methods of

9 harassment, telling the victim repeatedly again that he

 

 

 

 

10 loves her, that he wants to marry her, and that he will
ll stop at nothing for these things to take place.
1 12 Unfortunately, Judge, as to exact quotes from the
gi 13 letter, 1 can't provided those 1 can only provide that
14 summation that I've just given to the court as the
15 letter has been inventoried, and 1 do not have a copy
16 of the actual letter to give to the court.
17 THE COURT: But you will get that copy for Mr. Allen in
18 the interim.
19 MS. O'BRIEN: 1 will absolutely, Judge. The detective
20 has already been notified to collect that letter and
21 bring it to me.
22 THE COURT: Thank you. And would you like to be heard
23 on that, Mr. tlltlle.n,r on the State's petition for denial
9 24 of bail.
5

 

 

Case: 1:15-Cv-O6494 Dooument #: 1 Filed: 07/24/15 Page 63 of 152 Page|D #:63

 

 

1 MR. ALLEN: Yes, your Honor. Only that the letters,
2 there are no allegations as of yet the letter contained
3 anything directly, directly in regards to bringing harm
4 to the victim in this matter at all. The letters and
5 previous letters many of them contains poems that are
6 along the lines dealing with love but nothing in
7 regards to violence.
8 THE COURT: Well, the statute for the no bail does
9 require that there be a real and present threat to the
10 physical safety of the victim. In this case 1 do not
11 see that there is a real and present threat to the
wl 12 physical safety but he's also in violation of both of
ii 13 my bonds which was no contact which 1 advised you of in
14 both cases as well as the order of protection. So 1
15 don't think that the State meets the requirements for
16 no bail based on the fact that he is currently
17 incarcerated on no bail in two other of the cases, and
18 he could not have actually posed a real and present :
19 threat to physical safety. So no bail under the
20 statute of 5110 dash 6.3 is denied. But 1 will set
21 bond at 500,000 D.
22 So Mr. O'Connor, 1 understand that these
23 letters were sent through other people on the
g 24 tier, that you gave letters to other people. Now

 

 

 

 

 

 

` : 4
Case' 1'15-Cv-06494 Document #: 1 Fl|ed: 07/24/15 Page 64 of 152 Page|D # 6

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don't even speak because you can't talk without
the harm of your saying something on the record
that would incriminate you. I'm just letting you
know that you're causing additional problems on
the tier, because now all the letters by all the
inmates, more than 400 have to be screened in case
you should do this again. And so all of their
rights to send mail are being abridged because of
your conduct in giving the letter to somebody else
to mail. That's the allegation anyway. 1 am
advising you that you are harndng yourself further
by this conduct. 1n addition to seriously harming
the complaining witness in this matter. 1 am also
asking about the status of the expert. 1 am
ordering that the defendant be reevaluated. We
have received a forensic clinical services
evaluation indicating that you are mentally fit to
stand trial with medication. In light of this new
case 1 am questioning that finding, and 1 am
ondering a reevaluation of you. You must go to
that and participate in that violation. And then
I'm going to send the additional letters that you
have sent the victim that are the basis for the
new charges under 14 CR 14553, for which we've

 

 

 

Case: 1:15-Cv-O6494 Document #: 1 Filed: 07/24/15 Page 65 of 152 Page|D #:65

 

 

l just held this bond hearing; And asking them to
2 reevaluate.
3 And when do you believe that your expert's
4 evaluation report will be complete, Mr. Allen?
5 MR. ALLEN: Your Honor, 1 believe Dr. Henry will have
6 his evaluation done by October 2lst.
7 THE COURT: Would this be Dr. Stafford Henry?
8 MR" ALLEN: Yes, your Honor.
9 THELCILEHE That's great. He‘s a great expert. What
10 date did you say?
11 MR. ALLEN: October 2lst.
q 12 THE COURT: Would you like that on all the cases by
EF 13 agreement?
14 MR. ALLEN: Yes, your Honor.
15 THE CIXEUH end 1 like the haircut.
16 MS. O'BRIEN: Your Honor, on the other matter before
17 the court we are filing violations of the bailbond that
18 he was advised of no contact and he did violate that
19 contact.
20 THE COURT: File the violation of bailbond in those
21 cases are granted and those cases will be no bail.
22 MS. O'BRIEN: Thank you, your Honor. Oh, Judge, one
23 other matter. 1 did tender discovery to th Allen
l_ 24 today. On the matters ending in 8935 and 10369, 1 did

 

 

 

 

` :66
Case' 1'15-Cv-O6494 Document #: 1 Fl|ed: 07/24/15 Page 66 of 152 Page|D #

 

E§l 1 tender all of the defendant's medical records since
2 he's been incarcerated on those two matters. 1 also
3 tendered -
4 THE COURT: 1 don't recognize either of those numbers.
5 The numbers that you've just read to me.
6 MS. O'BRIEN: 14 CR 8935.
7 THE COURT: Okay that's --
8 MS. O'BRIEN: Judge, these are the matters that were
9 pending before the court originally.
10 THE COURT: All right, no ~- with regard to the
11 discovery 1 don't have that case number, unless there's
p_ 12 area another number here -- oh, yes. I've got
ky 13 14-10369, ohay. So just tell me which cases your
14 discovery is complete?
15 MS. O'BRIEN: Judge, discovery is not complete on any
16 of the cases yet.
17 THE COURT: All right. So what's outstanding?
18 MS. O'ERIEN: Outstanding, your Honor, on the matter
19 ending in 8935, we're still waiting for the return on
20 the items that were seized.pursuant to the search
21 warrant in that case. Namely, the download of the
22 defendant's computers. On the matter ending in 10369,
23 we are still awaiting`the inventories to be retrieved
24 on that matter, copies of the letter, copies of the

 

 

 

 

 

 

Case: 1:15-Cv-O6494 Document #: 1 Filed: 07/24/15 Page 67 of 152 Page|D #:67

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Eace Eook search warrant, things of that nature.
Additionally, your Honory we're also waiting now on the
transcript from the hearing from the extension of the
civil no contact matter where the victim --

THE COURT: And that's o --

MS. O'BRIEN: - had to testify. That will be relevant
to all three matters, 1 believe, considering all three
matters pertain to the same victnn.

MR. O'CONNOR: I'm sorry, your Honor.

THE COURT: Mr. O'Connorlr you don't have to apologize
to me, but think about what you are doing to this other
individual. Even if you are declaring your love and
what you perceive as positive feelings it's causing
harm to another individualr but more inportantly it's
causing harm to you because you are violating all of my
orders not to do that.

MR. O'CONNOR: Absolutely. I'm sorry.

THE CEMRT: 1 don‘t want to see that happening.

MR. O‘CONNOR: lt won't happen again. Ever.

MR.‘ALLEN: 1 acknowledge receipt of discovery from the
State today, your Honor.

THE COURT: Thank you.

(’I‘he above-entitled cause was continued

to October 21, 2014.)

 

 

Case' 1'15-Cv-O6494 Document #: 1 Filed: 07/24/15 Page 68 of 152 Page|D #:68

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STATE OF ILLINOIS )
)
COUNTY OF C 0 O K )

IN THE CIRCUIT COURT OF CCOK COUNTY, ILLINOIS
OOUNTY DERARTMENT - CRDHINAL DIVISION

SS:

1,r CAROLYN C. BROWN, an Official Court
Reporter for the Circuit Court of Cook County, County
Department - Criminal Division, do hereby certify that
1 reported in shorthand the proceedings had at the
hearing of the above-entitled cause, and that the
foregoing is a true and accurate transcript of the

proceedings had.

 

 

Re z er
CSR No. 084-003848
Circuit Court of Cook County

County Departnent - Criminal Division

Dated this 2nd day
of October, 2014.

 

 

 

 

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Case: 1:15-Cv-O6494 Document #. 1 Fl|ed. 07/24/15 PaQ€ 69 0 9 \, UL§ 9

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vs. J) No: \/1";€\(3
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MICHAEL W. O’CONNOR
Defendant.

MOTION TO REDUCE BO.N'.D

NOW COMES the Defendant. MICHAEL W. O'CDNNOR, by and through his
attomey, Lee &'. Fairman LLP and pursuant to 725 ILCS 5/110.6 moves this Honorable
Court to reduce his bond.

In support of said motion the defendant asserts the following:

1. He is 22 years of age.

2. That he has resided in the Chicago-land area his entire lifc.

3 He is a graduate of Mount Carmel High School. While at Mount Carrnel
he was enrolled in Honers and Aclvanced Placement courses

That he currently resides in Chicago, Illinois.

He is a _Senior at DePaul University where he has 140.5 credits 192

we

concentration in Media Cinema Litera '.

6. He has written a novel Manifest Destiny which is part one of a three part
trilogy-Foundation Sunrise. l-Ie has been contacted by publishers for the
rights to this book

7. He has no prior felony convictions and one misdemeanor arrest that was
scheduled to be dismissed by the State before this arrestl

8. That the current bond is set at $300.000[) and is quite oppressive for a
Class 4 felony.

9. The evidence the State has presented to the court to obtain this bond

does not give a complete picture as many of the text messages and
emails sent by Patr_vcia Wlosik to Michael O’Connor have not been
presented .

]0. Without being out of custod§l Mr. U`Connor cannot effectively assist in
his defensel

1 l. Mr. O’Connor cannot effectively assist in his defense in custody because
we will need to search his email accounts and text messages to help
obtain evidence

12. ln addition Mr. O'Connor cannot eii`ective]_v assist in his defense because
he is not being }')ro;:\erl}F medicated in Coolc Countj_.' Jail.

 

Case: 1:15-Cv-06494 Document #: 1 Filed: 07/24/15 Page ZO of 152 Page|D #:70

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Mr. O`Connor has been diagnosed from the age of 14 with Mixed Bi~Polar
disorder and ADHD. Over the years his mental health professionals have
crafted a particular combination of medications for Mr. O'Connor‘s
chemical composition that allow him be a produc" e member of society.
Cook County Departrnent of Corrections doedi"‘ ave the resources to'
properly care for Mr. O’Connor’s mental health or his physical well being
for matter.

Mr. O’Connor was severely beaten b_v a fellow inmate and in turn Mr.
O’Connor,has become quite fearful and paranoid

The stat violations Mr. O‘Connor’s First Arnendrnent rights to freedom
of speech. As there have no violent actions taken at all in this matter
towards Ms. Wlosilt.

That the Defendant does not pose a flight risk due to the fact that he has
strong ties to the community

The current bond is not consideratc oi` the financial ability of the
accused, in that he is a student

WHEREFORE Defendant prays this honorable Court reduce his bond or
other relief that this Court deems equitable and just.

Lee du Fairman LLP ,c'-"'
Firm # 4839 1 »-/'
'18300 S. Dixic Highway, 2"‘1 Floor
I-lorne\vood. lL 60430

O 708-799-4843

F 708-799-4849

 

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Case: 1:15-Cv-06494 Document #: 1 Filed: 07/24/15 Page 71 of 152 Page|D #:71

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COUNTY |DEPQH|"IEN'{BH£HIIM'|§AL DlVlSION

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Plalntlff,

v. Nos. 12 CR 1267801

MchAi-:t o'coNNoR,

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Defendant.
MOTION TO VACATE H|S PLEA
NOW COMES the Defendant, MlCHAEL O'CGNNDR, respectfully requesting that this

Honorab|e Court allow him to vacate his plea. |n support of this request Defendant states the

following:
l. This plea was not knowingli,l or voluntarily made.
2. This Motlon is being filed by the undersigned counsel at the Defendarit's request

The Defendarit has been advised that counsel will not present this motion to the court or argue the
same and has been advised to seek other counsel lf he wishes to move forward.
WHEREFORE, the Defendant requests that this court allow him to vacate his plea, and for

such further and other relief as this Court deem just.

Respectfully submitted
MICHAEL O'CONNDR, Defendant

By:

 

One of His Attorneys

sTEvEN A. GREENsERG

53 w. JAcKsoN BLvo., sulTE 1250
cchAGo, lLLlNols 60604

(312) 379-9500

ATroRNEY No.: 15703

 

Case: 1:15-cv-06494 Document #: 1 Filed: 07/24/15 Page 72 of 152 Page|D #:72

IN THE CIRCUIT COURT DF COOK CCJU|'*.ITYJl ILLINOIS
COUN'W DEPARTN|ENT, CR|M|NAL D|VISION

 

 

 

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Plazntlff, § l SL=,_§FQ“BT§K_§-lr&%% l|:Loun'r
v- ) No. 12 ca 22315
l
MicHAEL o'coNNoa, )
)
Defendant. )

MDT|ON TO VACATE AND DISMISS
NOW COMES the Defendant, M|CHAEL O’CONNOR, by his counsel, Steven A. Greenberg,

requesting that this Court dismiss these cases. ln support of this request, Defendant states as

follows:
1. Defendant was sentenced to TASC probation.
2. Defendant has successfully completed the TASC probation
3. Defendant filed a timely Motion to Vacate his convictions

WHEREFORE, the Defendant requests that his conviction be vacated and this case be

dismissed, and for such further and other relief as this Court deem just.

Respectfu||y submitted,
MICHAEL O'CONNOR, Defe_ndant

 

sTEvEN A. GREENBERG
53 w. JAci<soN Bva., suits 1260
cchAGo, lLLlNols susan

(312) s?s-ssoo

ATToRNEY No.: 15703

 

 

 

 

     

CaSe:`[l\:J‘Be@L§§Q ocument #: 1 Fi|e : 07/24/15 Page 73 of 152 Page|D #:73

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Ccc: msam-om.u.
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Cua Ne- lia-0 pa 0 ig qu
himaeiffizcraeif aad!or nn behalf of B"“d"\""“"‘ F"°"'""l
- l il Crimlnal Fra\ceedlal
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Date, time and place for further hearings

 

 

 

 

 

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Respond¢ul. bccaaae the harm which that remedy la intended in prevent would he likely to occur if tile Reapondeat were given aay prior notiec. ar
greater notice than area actually g.i\reu.,r at tile Peddoaer’a eil`om to obtain judicial relie!'. 5

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BASED DN THE FINDINGS Dl' TH]S COURT¢ WHICH-WERE MADE ORALLY FDR TRANSCRIPT!CN, OR n
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COURT, AND m THE COURT HAVENG IURISDICTION OF
.\N`D OVER ALL NECESSARY PAR'¥'IES. lT IS I'IEREBY ORDERED THAT:
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or nothing any person protected under tide ClvH No Can bet Onler.
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uf my person protected under thia Civil Nc Contaet Order.

  
 
  
     
     

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'|‘.a. ’

D{}ROTHY BRI.')WN, i.`l.ERK Ul" I`HE l`IRL`l'IT COURT UF C(}DK ("OUNTY, ll.l.IN'L)IS

 

 

 

 

 

 

   
 
   

  
 

    

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not limited Io, teiap ua a-ia|'ll eman, i'axu, and written ooi.ea), or through thi parties who may or may oot'iulow about the order ofprot¢etloo._
which constitute nea-consensual sexual conduct; or El non-consensual sexual penetration '
, L'.l Police report no made _ Poiicc report made Poilce report oo. ""
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arney for Pro Se Petitioner-j Name: l :f@ 54 ____
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5 A MISD£MIANUR
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Case: f:ls-m --c\/ -06433 t$’Bl:umem z § File%%/Z;i(/lé;jg:@;o g peg
CM Z_`.l l l Valentina O'Connor¢ vocmoc@grnali.com>

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._- . __._-._.. ---___,__...._,_.,._ __ _.._- _____ _._.--_.-_- -- - _-

 

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Fwd: prw- m4w- 22 (op)
1message

michael o' connor< chirishbeast@grnail. corn> Ffi. Jun 7. 2013 at 11:20 PM
To: vocmoc@grnail com

 

Forwardad message
Fron'i: craigallst reply ob12 <eb12015a27373369950d6316f?bc201 ?@reply.craigslist.org>
Data: Fri Jun 7. 2013 at 5: 41 PM

Subjoct. piw- m4w- 22 (op)

To: zcnhv- -3854709645@pers.craigslist.org

 

Wl'lii are you calling my name when l am on top of you l need to know. 1 totally dig dominant guys who can
get in control of mo so reach mo right now without hesitation at quktn@|ive. com

l miss you so much.

 

Original ciaigs|ist post

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. CaSe: 1:15-cv-06494 Document #: 1 Filed: 07/24/15 Page 76 of 152 Page|D #:76
Shay A|ien

 

From: Joey Castro [iia|ianpride8233@gmail.com]
Sorit: Ti.iesday, November 20, 2012 2120 Pl'vl
To: Shay Al|eri

Fwd Fwd 708~567-436?
Mike didnt do anything girl i just wanna see his ass tott in jail

' - ' :77
Case' 1:15-Cv-06494 Document #: 1 Fl|ed: 07/24/15 Pag of 152)%§1@® #
P. . g
“"Uidno contact order lzopsoses / \r)

Petitioner: Patr\,rcja W|osik _\

Respondent: Michae| O'Connor /

RDOB: 6-14-90
Return Date: Monday, Ju|y 2, 2012 ln courtroom 204 @1:30 p.m.

The petitioner is a ciassmate of the respondent net reia;ignship at al|. DePau|'s Pub|ic Safety person
Randy is aware of situation {3 12]362-8344 as well as the Orland Po|ice Department.

“~Respondent has violated the order and was arrested en 5-15-12 after being served 6-11-12.

This case is up on july 9, 2012, in 103 at 9 a.m. Felony charge 575,000 d bond

Continue this case if possible until the 9"‘ a
under the Felony case and dismiss Civil ord
FELoNY stare on the 2““)

nd then have it transferred and put the Civil No Contact order
er number ifpossime. [CCINF\‘RM F|R.'il’ WlTH lUDGE AND

Pi|lars Case worker Christy Bowes is working with petitioner and her mother should b

e here for case if
not contact her on 2"“ with information (708)995-3664

we 30

 

 

 

 

 

 

Case: 1:15-Cv-06494 Document #: 1 Filed: 07/24/15 Page 78 of 152 Page| #Mg\j

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STATE OF ILLINOIS i /
i SS:

COUNTY OF C O 0 K J

IN THE CIRCUI” COURT OF COOK COUNTY, I
COUNTY DEPARTMENT, DOMESTIC VIOLENCE D

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PATRYCJA WLCSIK,

Plaintiff,

'MICHAEL O'CONNOR,

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-ve- i No. 12 oP 50369
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Defendant.

REPORT OF PROCEEDINGS had in the above-entitled
matter before the Honorable Sheila McGinnis, Judge of said
court, on the 22nd day of August, 2014, at the hour of 1:30
P.M.

PRESENT:

MS. PATRYCJA WLOSIK,
appeared pro Se.

MR. SHAY ALLEN,
appeared on behalf of Defendant.

Elizabeth Ciszewski, OCR 084-00258? Bridqeview,

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Case: 1:15-Cv-06494 Document #: 1 Filed: 07/24/15 Page 79 of 152 Page|D #:79

l THE COURT: Mr. O'Connor, and good afternoon, eounsel.
2 MR. ALLEN: Good afternoon, your Honor. Shay Allen,

3 S-h~a-y, on behalf of Mr. Michael O'Connor who stands to my
4 left in open court.

5 THE COURT: And at this point, there was a -- it looks
6 like there was a plenary order of protection entered into by
? agreement back on July 9th of last year. It was until July
8 Tth of this year, and then it has been extended to today,

9 and at this point I know the petitioner is here and she

10 would like to extend this order for a further period of

11 time, is that correct?
12 MS. WLOSIK: Yes.

13 THE COURT: And have you talked to your client about an
14- extension?

15 MR. ALLEN: 1 have, your Honor. He wishes to have the
16 hearing.

17 THE COURT: All right. And so and again 1 guess then
18 my question to you, Ms. Wlosik, prior to going forward with
19 the hearing, do you want time to bring an attorney in or do
20 you want to represent yourself? lt's not a full blown

21 hearing. We've already had that. You have to present some
22 evidence as to why you need this extended.

23 MS. WLOSIK: I'll represent myself.

24 THE COURT: And then we can ~- are you still waiting

 

 

 

 

 

Case: 1:15-Cv-06494 Document #: 1 Filed: 07/24/15 Page 80 of 152 Page|D #:80

1 for counsel?

2 (The matter was passed and recalled.l

3 THE CLERK: Recall Patrycja Wlosik and Michael

4 O'Connor.

5 THE COURT: And did you have anyone else, Ms. Wlosik,

6 that you are going to have testify or just yourself at this

7 point?
8 MS. WLOSIK: Just myself.
9 MR. ALLEN: 1 would ask the other person that is

10 standing here identify themselves as to what purpose she is
11 standing there.

12 MS. BOWS:_ My name is Christie Bows. 1 work at a

13 social service agency called Pillars. I'm an advocate.

14 THE COURT: -Do you understand you have no legal

15 standing? You are not allowed to address the Court. You

16 are simply here for support.

17 MS. BOWS: I understand. I'm simply here for support.
18 THE COURT: Do you have anyone else to testify?

19 MR. ALLEN: No.

20 THE COURT: Why don't we have everyone raise their

21 hands to be sworn.
22 (The parties were first duly sworn.l
23 THE COURT: And again this order was entered into

24 originally by agreement for a time period and it has been

 

 

 

Case: 1:15-Cv-06494 Document #: 1 Filed: 07/24/15 Page 81 of 152 Page|D #:81

l extended. At this point the petitioner has made a motion

2 asking to continue the order of protection for some period
3 of time, and my first question, l guess, is, has there been
4 any violations of this order of protection since it was

5 entered?

6 MS. WLOSKI: Yes.
1 THE COURT: There have been contacts.
8 MS. WLOSIK: Yes, several. There was Facebook linked

9 in. He came looking at DePaul for me and contacted me
10 several times through letters.
11 THE COURT: When was the last time there was any
12 contact of any type?
13 MS. WLOSIK: There was a letter on our last court dated

14 ` herer that was July 16th.

15 THE COURT: July 16th, you received a letter.

16 MS. WLOSIK: Yes.

17 THE COURT: From him. Do you have that letter here?
18 MS. WLOSIK: Yes.

19 THE COURT: Do you have other letters as well?

20 MS. WLOSIK: Yes.

21 THE COURT: How many letters have you received from

22 Mr. O'Connor while this order of protection was in place?
23 MS. WLOSIK: About maybe four.

24 THE COURT: Four letters, and, counsel, have you had a

 

 

Case: 1:15-Cv-06494 Document #: 1 Filed: 07/24/15 Page 82 of 152 Page|D #:82

1 chance to see those?

2 MR. ALLEN: 1 have.

3 THE COURT: Any objection to the court seeing them?

4 MR. ALLEN: No.

5 THE COURT: And those letters were from what dates?

6 MS. WLOSIK: May let, May 28th, May 26th, or May Eth,

? and then July 16th.
8 THE COURT: And were any of those letters threatening

9 in any way?

10 MS. WLOSIK: Yes.

11 THE COURT: Threatening harm?

12 MS. WLOSIK: Threatening myself or my boyfriend.

13 THE COUR1: All right. Can you bring those up, Jean?

14 And you say also that you became aware that Mr. O'Connor was

15 actually at the DePaul campus looking for you.

16 MS. WLOSIK: Yes.
17 THE COURT: When did that occur?
18 MS. WLOSIK: Beginning of May when 1 received the

19 messages from Facebook. 1 went to DePaul and 1 alert

20 security that this has been a problem in the past. 1 have
21 an order of protection and 1 just wanted them to have an
22 extra eye of what was going on, and they actually told me
23 that he came the day before and was looking for me.

24 THE COURT: Was that specifically asking to see you?

 

 

 

 

Case: 1:15-Cv-06494 Document #: 1 Filed: 07/24/15 Page 83 of 152 Page|D #:83

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1 MS. WLOSIK: Yes.
2 THE COURT: Have you ever personally seen him around
3 the DePaul campus as far as you are aware?
4 MS. WLOSIK: NO.
5 THE COURT: And they are signed, Michael O'Connor. And

6 again it appears that these letters were sent from
? Mr. O'Connor from the jail and, counsel,l are you contesting
8 that Mr. O‘Connor sent any of these orders in violation of a
9 no contact order.
10 MR. ALLEN: Your Honor, my basis of contest for those
11 is that in a letter coming from the Cook County jail in an
12 area where he is supposed to be under constant restriction
13 and contact or monitoring, 1 don't understand how
14 Mr. O'Connor could be held liable for sending something in
15 which, from the Cook County jail, in which he is not
16 supposed to be able to do. Cook County Jail is aware of this
17 order of protection. Cook County Jail is aware of
18 Mr. O'Connor's mental health issues. Cook County Jail is
19 aware of who is listed on the order of protection. Why
20 would Cook County Jail allow Mr. O'Connor --
21 THE COURT: That's a separate issue. That‘s a separate
22 issue. And, Ms. Wlosik, have you ever seen Mr. O'Connor's

23 writing before?

24 MS. WLOSIK: Yes.

 

 

Case: 1:15-Cv-06494 Document #: 1 Filed: 07/24/15 Page 84 of 152 Page|D #:84

B
1 THE COURT: Did you recognize this to be his writing
2 and his drawings?
3 MS. WLOSIK: The drawings -- it's all a pattern of this
4 from two years ago, so 1 recognized it right away.
5 THE COURT: And this is alarming to you ohviously.
6 MS. WLOSIK: Yes.
7 THE COURT: And counsel, do you want to have your
8 client testify or do you just want to argue? This right
9 here gives me good cause, in my opinion, to extend this
10 order to again for the maximum time of two years.
11 MR. ALLEN: 1 would like an opportunity to question the

12 young lady about that.

13 THE COURT: Sure.

14 PATRYCJA WLOSIK;

15 called as a witness herein, having been first duly sworn,

16 was examined and testified as follows:

17 DIRECT EXAMINATION
18 MR. ALLEN:
19 Q So you said Mr. O'Connor has come to DePaul

20 looking for you, is that correct?

21 A Yes.
22 Q Do you know what dates that was?
23 A Beginning of May.

24 Q Do you have an exact date?

 

 

 

 

Case: 1:15-Cv-06494 Document #: 1 Filed: 07/24/15 Page 85 of 152 Page|D #:85

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h No.

Q Has it been more than once?

h No, just once.

Q One time. And that one time he allegedly came to
DePaul looking for you, were you on DePaul campus?

A Yes.

Q And do you remember being on DePaul campus?

A Yes.

Q Do you remember what time you found out that he
allegedly came looking for you?

A It was about 10 o'clock.

Q 1n the morning?

A Yes.

Q And you were told this through someone else?

A Yesr through the DePaul security.

Q Do you know the name of that security?

A No.

Q Do you know how many were there, one officers,
several or --

A There were two.

Q Two different security officersr right. And did
they seek you out?

A No. 1 came and made them aware of this situation

and they told me that he was there the day before.

 

 

Case: 1:15-Cv-06494 Document #: 1 Filed: 07/24/15 Page 86 of 152 Page|D #:86
- 10
1 Q So it just so happened the day -- you came one day
2 and he had just been there the day before. But you never
3 literally saw him, is that right?
4 A Correct.
5 Q And the order of protection had been in place for
6 nearly two years before that, correct?
1 A Correct.
8 Q And in those two years you had not seen him,
9 correct?
10 A Correct.
11 Q He had not called you or telephoned you?
12 n h Correct.
13 ' Q You had not gotten any text messages from him,
14 correct?
15 P. No.
16 Q And I'm not going to ask you what your number is.
11 But since the original incident of 2012, is your phone
18 number different?
19 A Yes, correct.
20 Q Now in regards to Facebook postings, are you his
21 friend on Facebook?
22 A He requested me. but 1 denied it.
23 Q So if you don't accept someone on Facebook, can
24 you see what they write?

 

 

Case: 1:15-Cv-06494 Document #: 1 Filed: 07/24/15 Page 87 of 152 Page|D #:87

1 A t was filtered into my other messages. When 1
2 was checking my messages one day, 1 saw, other, and there
3 was a 1, in parenthesis. 1 saw the name Mike Jones and that
4 is how it started, and 1 know 1 don't know a Mike Jones.
5 Q So if you see someone you don't know, then you
6 look at the message?
1 A Well, 1 wanted to see who it was.
8 Q And after seeing one message you say of Mike
9 Jones, after that first message you saw, did that first
10 message indicate it was from Michael O'Connor?
11 A The first one didn't. lt said 1 know of a friend.
12 He really wants to talk with you, andr you know, that was
13 just really weird for me, and 1 got scared, and 1 took
14 action to try to ignore it. But then the second one said
15 his full name and that‘s when 1 made the report.
16 Q Now with regard to the report, do you mean a
17 report to the police?
18 A Yes.
19 Q And that report was made to the Chicago Police
20 Department?
21 A Yes.
22 Q 15 there any reason why the report was made to the
23 Chicago Police Department and not the Orland Park Police

24 Department?

 

 

 

 

Case: 1:15-Cv-06494 Document #: 1 Filed: 07/24/15 Page 88 of 152 Page|D #:88

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A 1 was looking at some messages from school and it
2 happened in Chicago as well, so 1 just asked there, and to
3 quickly take initiative right away, and 1 wanted this to be
4 taken care of because 1 still had my order of protection and
5 1 was scared to go to school.

6 Q Your allegation -- your actual petition alleged
1 that there was physical abuse. Has there ever been any

8 physical abuse?

9 A No.

10 Q It alleges that there has been an interference

11 with, excuse me, physical liberty. How does, for instance,

12 the messages on Facebook interfere with your physical

13 liberty?

14 A I'm sorry. What does physical liberty mean?

15 Q 1 don't know. It‘s on your petition. That is

16 what I'm asking you, who put that there. 1nterference with

17 physical liberty. Do you know what that means?

18 A No.

19 Q Did you fill out the original petition or the

20 original order of protection?

21 A I'm sorry. 1 don't remember.

22 THE CLERK: Judge, just for clarification, this is a

23 stalking, no contact order.

24 THE COURT: Yesr it is.

 

 

 

Case: 1:15-Cv-06494 Document #: 1 Filed: 07/24/15 Page 89 of 152 Page|D #:89
13

l THE CLERK: And 1 don't believe that language is on the
2 petition.
3 MR. ALLEN: 1 think that it is on the petition. 1 was
4 just reading it from the original petition.
a THE COURT: And it is in the body of the petition.
6 There are incidents listing verbal abuse, physical abuse,
1 sexual harrasment, exploitation, stalking, threatening,
8 intimidation of a dependent, interference with personal
9 liberty, willful deprivation. I'm not sure if this was
10 filled out by you, Ms. Wlosik, or not. But that was the
11 allegations in the initial petition. But at this point we
12 are beyond that. What it is now is 1 am determining whether
13 or not there is good cause to extend this order from this
14 point on.
15 MR, ALLEN:
16 Q From the time that the initial order was entered
11 and within the time period that you reached the Chicago
18 Police Department, had you reached out and contacted
19 Mr. O'Connor?
20 A No.
21 Q Have you reached out or contacted him through a
22 third party at all?

23 A No.

24 _ Q Have you spoken about him with a third partyr for

 

 

Case: 1:15-Cv-06494 Document #: 1 Filed: 07/24/15 Page 90 of 152 Page|D #:90

14
1 instance, a friend? l
2 A Yes.
3 Q Have you ever spoken to him ~- about Mr. O‘Connor
4 with Joey Castro's girlfriend?
5 A 1 don't know who that is, so no. :
6 Q On one incident in particular, there was only a :
1 friend request on the weekend, correct?
8 A No. lt was ~~ it was just a notification that
9 Michael O. was looking at your profile. There was no
10 request; but it happened when Facebook was going on, the
11 DePaul and the letters, and Michael O. 1 assumed it was
12 Michael O'Connor.
13 Q But you didn't know for sure if it was Michael
14 O'Connor? l
15 A Correct. lt didn‘t say O'Connor but --
16 Q Now, and finally, the letters you receivedr when

11 you received those letters, you were aware that they were

18 from the Cook County jail?

19 A Yes.

20 Q You were aware --

21 A They were sent from the jail.

22 Q What's that?

23 A They were under like unit -- 1 don't have the

24 letters in front of me. But ~-

 

 

Case: 1:15-Cv-06494 Document #: 1 Filed: 07/24/15 Page 91 of 152 Page|D #:91

Q And after seeing they were from the jail, you

1-.1

2 opened the letters at that point?

3 A One of them was for my father and there was a

4 cross on the back, and my mom got the mail, and she opened

5 it up, and she said, you know, is this from someone from

6 church writing it? So she started reading it with my father
1 and, you know, that's when more letters started filtering

8 in.

9 Q Does your father work for Orland Park Police

10 Department?

11 A No.
12 MR. ALLEN: 1 have nothing further.
13 THE COURT: All right. And you rest on your motion to

14 extend the order of protection.

15 MS. WLOSIK: Yes, ma'am.

16 THE COURT: Counsel, do you wish to present any

11 evidence?

18 MR. ALLEN: No, your Honor.

19 THE COURT: At this point, based on what I've heard and

20 the letters that 1 have seen, 1 mean, this is a no contact
21 order of protection, Mr. O'Connor. That means no contact by
22 any means whatsoever, not in person, no phone calls, no

23 e-mails, text messages, cards, letters, no communication

24 over the Internet. Don‘t have anybody else trying to

 

 

 

 

Case: 1:15-Cv-06494 Document #: 1 Filed: 07/24/15 Page 92 of 152 Page|D #:92
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1 contact her on your behalf. You stay away from any address
2 that is in this order. You cannot be on the property. You
3 can't be in the immediate area. And because you have
4 violated this order and sent at least four letters and tried
5 to reach out to her at School and reach out to her through
6 Facebook, 1 do find that there is a substantial cause to
1 extend this order, and this order is going to be extended
»- 8 until August 20th of 2016.
9 So at this point for another two years you
10 have absolutely no contact by any means with Ms. Wlosik. Do
11 you understand that, sir?
12 MR. O'CONNOR: Yes, your Honor.
13 THE COURT: 1'11 return these. 1 don't know if you
14 want these back. You may want to hold onto them. Put them
15 away in a file. But -- so it's her school, place of
16 employment. You are not to go near her by any means
11 whatsoever, and you are not to contact her by any means
18 whatsoever, Do you understand that?
19 MR. O'CONNOR: YeS.
20 THE COURT: And again it will be in place until August
21 20, 2016.
22 Counsel, I'm signing that order now, the
23 extension on the order. Will you acknowledge receipt of the

24 'order on behalf of your client?

 

 

 

Case: 1:15-Cv-06494 Document #: 1 Filed: 07/24/15 Page 93 of 152 Page|D #:93

11
1 MR. ALLEN: 1 will.
2 THE COURT: You will get a stamped copy in just a
3 moment.
4 MR. ALLEN: Your Honor, finally, 1 apologize. So the

5 basis of the extension, is it mostly the letters? You said

6 the letters.

1 THE COURT: The letters, the Facebook contact, and the

8 contact at school, but mostly the letters. 1 mean,

9 obviously they are signed by him. They reference Patrycja.
10 There are numerous letters. He was not supposed to have any
11 contact. That's the order; That's contact. I'm surprised
12 he was not chargedr four times. He could have been charged
13 with four separate misdemeanors with regard to each one of
14 those, and then once we prove one of those up, now we go
15 into the felony room.

16 So at this point 1 can't admonish you enough,
l? Mr. 'Connor, no contact means no contact whatsoever; and
18 those letters obviouslyr 1 think that is very good cause to
19 extend this order, and the letters themselves. 1 didn‘t

20 read them out in the court. 1f you would like me to, 1

21 will. They are very disturbing.

22 MR. ALLEN: Well, they are. My client didn't -~

23 THE COURT: Exactly. So that is why this order is

24 necessary, counsel, to protect Ms. Wlosik. So the order is

 

 

 

Case: 1:15-Cv-06494 Document #: 1 Filed: 07/24/15 Page 94 of 152 Page|D #:94

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in place for another two years.

MR. ALLEN: Thank you.

THE COURT: You could have a seat. You will get a
copy of the order as well-

(Which were all the proceedings had.l

18

 

 

Case: 1:15-Cv-06494 Document #: 1 Filed: 07/24/15 Page 95 of 152 Page|D #:95

PROFILE INFORMATION FORM

Please fill out and return this form along with any other pleading you wish to submit to the
court. It is your responsibility to keep the court advised of your current address in order for you to
receive orders from the court Failure to do so may result in dismissal of your case for want of
prosecution Once the Prisoner Cor_respondent records this infonnation, this form will be destroyed

 

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Case: 1:15-Cv-06494 Document #: 1 Filed: 07/24/15 Page 96 of 152 Page|D #:96
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1 contact her on your behalt. You stay away from any address

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that is in this order. You cannot be on the property. You
3 can't be in the immediate area. And because you have
4 violated this order and sent at least four letters and tried
5 to reach out to her at school and reach out to her through
6 Facebook, 1 do find that there is a substantial cause to
7 extend this order, and this order is going to be extended

h- 8 until August 20th of 2016.
9 So at this point for another two years you
10 have absolutely no contact by any means with Ms. Wlosik. Do
11 you understand that, sir?
12 MR. O'CONNOR: Yes, your Honor.
13 THE COURT: 1'11 return these. 1 don't know if you
14 want these back. You may want to hold onto them. Put them
15 away in a file. But -- so it's her school, place of
16 employment. You are not to go near her by any means

11 whatsoever, and you are not to contact her by any means

18 whatsoever. Do you understand that?
19 MR. O'CONNOR: YeS.
20 THE COURT: And again it will be in place until August

21 20, 2016.
22 Counsel, I'm signing that order now, the

23 extension on the order. Will you acknowledge receipt of the

 

24 'order on behalf of your client?

 

 

 

Case: 1:15-Cv-06494 Document #: 1 Filed: 07/24/15 Page 97 of 152 Page|D #:97

17
1 MR. ALLEN: 1 will.
2 THE COURT: You will get a stamped copy in just a
3 moment.
4 MR. ALLEN: Your Honor, finally, 1 apologize. So the

5 basis of the extension, is it mostly the letters? You said

6 the letters.

7 THE COURT: The letters, the Facebook contact, and the

8 contact at school, but mostly the letters. 1 mean,

9 obviously they are signed by him. They reference Patrycja.
10 There are numerous letters. He was not supposed to have any
11 contact. That's the order. That's contact. I'm surprised
12 he was not charged, four times. He could have been charged
13 with four separate misdemeanors with regard to each one of
14 those, and then once we prove one of those up, now we go
15 into the felony room.

16 So at this point 1 can’t admonish you enough,
11 Mr. O'Connor, no contact means no contact whatsoever; and

18 those letters obviously, 1 think that is very good cause to
19 extend this order, and the letters themselves. 1 didn't

20 read them out in the court. If you would like me to, 1
21 will. They are very disturbing.

22 MR. ALLEN: Well, they are. My client didn't ~~
23 THE COURT: Exactly. So that is why this order is

24 necessary, counsel, to protect Ms. Wlosik. So the order is

 

Case: 1:15-Cv-06494 Document #: 1 Filed: 07/24/15 Page 98 of 152 Page|D #:98

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1 in place for another two years.

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ua. nitth Thank you.

3 THE COURT: You could have a seat. You will get a
4 copy of the order as well.
5 {Which were all the proceedings had.)

 

 

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3 COUNTY OF h O C t
3 :h THE cIRCUIT COURT OF COOH COUNTY, :LLINO:S
COUNT\ DEPARTMENT, DOMESTIC VIOLENCE DIVISION
4
y 5
PATRYCJA WLOSIH, )
6 }
' Plaintiff, l
7 l
~vs» } No. 12 OP 50369
8 l
MICHAEL O'CONNOR, ‘
9 l
Defendant. l
10
11 REPORT OF ?ROCEEDINGB had in the above-entitled

12 matter before the Honorable Sheila McGinnis, Judge of said

13 courtr on the 22nd day of August, 2014, at the hour of 1:30

14 P.M
15 PRESENT
15
11
18 ME. PATRYCJR WLOSIK,
appeared pro se.
19
20 ME. SHAY ALLEN,
appeared on behalf cf Deiendan;.
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L.J-
13 E;_:ace;t C;szewsr;, CR 084-002581 Br;dgeview, filinois

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Case: 1:15-Cv-06494 Document #: 1 Filed: 07/24/15 Page 100 of 152 Page|D #:100

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THE COURT: Mr. O‘Connor, and good afternoon, counsel.

MR. ALLEN: Good afternoon, your Honor. Shay Allen,
S-h-a-y, on behalf of Mr. Michael O'Connor who stands to my
left in open court.

THE COURT: And at this point, there was a -- it looks
like there was a plenary order of protection entered into by
agreement back on duly 9th of last year. It was until July
?th of this year, and then it has been extended to today,
and at this point 1 know the petitioner is here and she
would like to extend this order for a further period of
time, is that correct?

MS. WLOSIK: Yes.

THE COURT: And have you talked to your client about an
extension?

MR. ALLEN: 1 have, your Honor. He wishes to have the
hearing.

THE COURT: All right. And so and again 1 guess then
my question to you, Ms. Wlosik, prior to going forward with
the hearing, do you want time to bring an attorney in or do
you want to represent yourself? 1t's not a full blown
hearing. We‘ve already had that. You have to present some
evidence as to why you need this extended.

MS. WLOSIK: 1'11 represent myself.

THE COURT: And then we can -- are you still waiting

 

Case: 1:15-Cv-06494 Document #: 1 Filed: 07/24/15 Page 101 of 152 Page|D #:101

1 for counsel?

2 (The matter was passed and recalled.)

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CLERK: Recall Patrycja Wlosik and Michael

4 O'Connor.

5 THE COURT: And did you have anyone else, Ms. Wlosik,
6 that you are going to have testify or just yourself at this
? point?

8 MS. WLOSIK: Just myself.

9 MR. ALLEN: 1 would ask the other person that is

10 standing here identify themselves as to what purpose she is

11 standing there.

12 MS. BOWS:_ My name is Christie Bows. 1 work at a

13 social service agency called Pillars. I'm an advocate.
14 THE COURT: Do you understand you have no legal

15 standing? You are not allowed to address the court. You

16 are simply here for support.

¢

11 MS. BOWS: 1 understand. 1'm simply here for support.
18 THE COURT: Do you have anyone else to testify?

19 MR. ALLEN: No.

20 THE COURT: Why don't we have everyone raise their

21 hands to be sworn.
22 (Tne parties were first duly sworn.)
23 THE COURT: And again this order was entered into

24 originally by agreement for a time period and it has been

 

 

Case: 1:15-Cv-06494 Document #: 1 Filed: 07/24/15 Page 102 of 152 Page|D #:102

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extended. At this point the petitioner has made a motion
asking to continue the order of protection for some period
of time, and my first guestion, 1 guess,'is, has there been
any violations of this order of protection since it was
entered?

MS. WLGSKI: Yes.

THE COURT: There have been contacts.

MS. WLOSIK: Yes, several. There was Facebook linked
in. He came looking at DePaul for me and contacted me
several times through letters.

THE COURT: When was the last time there was any
contact of any type?

MS. WLOSIK: There was a letter on our last court dated
here, that was July 16th. d

THE COURT: duly 16th, you received a letter.

MS. WLOSIK: Yes.

THE COURT: From him. Do you have that letter here?

MS. WLOSIK: Yes.

THE COURT: Do you have other letters as well?

MS. WLOSIK: Yes.

THE COURT: How many letters have you received from
Mr. O'Connor while this order of protection was in place?

MS. WLOBIH: About maybe four.

THE COURT: Four letters, and, counsel, have you had a

 

 

Case: 1:15-Cv-06494 Document #: 1 Filed: 07/24/15 Page 103 of 152 Page|D #:103

1 chance to see those?

MR. ALLEN: l have.

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3 THE COURT: Any objection to the court seeing them?

4 MR. ALLEN: No.

5 THE COURT: And those letters were from what dates?

6 MS. WLOSIK: May 21st, May 28th, May 26th,r or May Bth,

? and then July 16th.
8 THE COURT: And were any of those letters threatening

9 in any way?

10 MS. WLOSIK: Yes.

ll THE COURT: Threatening harm?

12 MS. WLOSIK: Threatening myself or my boyfriend.

13 THE COURT: All right. Can you bring those up, Jean?

14 And you say also that you became aware that Mr. O'Connor was

15 actually at the DePaul campus looking for you.

16 MS. WLOSIK: Yes.
l? THE COURT: When did that occur?
18 MS. WLOSIK: Beginning of May when l received the

19 messages from Facebook. l went to DePaul and I alert

20 security that this has been a problem in the past. l have
21 an order of protection and l just wanted them to have an
22 extra eye of what was going on, and they actually told me
23 that he came the day before and was looking for me.

24 THE COURT: Was that specifically asking to see you?

 

 

 

 

Case: 1:15-Cv-06494 Document #: 1 Filed: 07/24/15 Page 104 of 152 Page|D #:104

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MS. WLOSIK: Yes.

THE COURT: Have you ever personally seen him around
the DePaul campus as far as you are aware?

MS. WLOSIK: No.

THE COURT: And they are signedf Michael O'Connor. And

again it appears that these letters were sent from

Mr. O'Connor from the jail andr counsel, are you contesting

that Mr- O’Connor sent any of these orders in violation of a
no contact order.

MR. ALLEN: Your Honor, my basis of contest for those
is that in a letter coming from the Cook County jail in an
area where he is supposed to be under constant restriction
and contact or monitoring, I don't understand how
Mr. O'Connor could be held liable for sending something in
which, from the Cook County jail, in which he is not
supposed to be able to do. Cook County Jail is aware of this
order of protection. Cook County Jail is aware of
Mr. O'Connor‘s mental health issues. Cook County Jail is
aware of who is listed on the order of protection. Why
would Cook County Jail allow Mr. O'Connor e-

THE COURT: That's a separate issue. That's a separate
issue. And, Ms. Wlosik, have you ever seen Mr. O'Connor's
writing before?

MS. WLOSIK: Yes.

 

Case: 1:15-Cv-06494 Document #: 1 Filed: 07/24/15 Page 105 of 152 Page|D #:105

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THE COURT: Did you recognize this to be his writing
and his drawings?
MS. WLOSIK: The drawings -~ it's all a pattern of this

from two years agoF so l recognized it right away.

THE COURT: And this is alarming to you obviously.

MS. WLOSIK: Yes.

THE COURT: And counsel, do you want to have your
client testify or do you just want to argue? This right
here gives me good cause, in my opinion, to extend this
order to again for the maximum time of two years.

MR. ALLEN: l would like an opportunity to question the
young lady about that.

THE COURT: Sure.

PATRYCJA WLOSIK,
called as a witness herein, having been first duly sworn,
was examined and testified as follows:
DIRECT EXAMINATION
MR. ALLEN:
Q So you said Mr. O'Connor has come to DePaul

looking for you, is that correct?

A Yes.
0 Do you know what dates that was?
A Eeginning of May.

Q Do you have an exact date?

 

 

 

Case: 1:15-Cv-06494 Document #: 1 Filed: 07/24/15 Page 106 of 152 Page|D #:106
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1 A No
2 Q Has it been more than once?
3 A No, just once.
4 Q One time. And that one time he allegedly came to
5 DePaul looking for you, were you on DePaul campus?
6 A Yes.
7 Q And do you remember being on DePaul campus?
8 A Yes.
9 Q Do you remember what time you found out that he
10 allegedly came looking for you?
11 A lt was about 10 o'clock.
12 Q In the morning?
13 A Yes.
14 Q And you were told this through someone else?
15 A Yes, through the DePaul security.
16 Q Do you know the name of that security?
17 A No.
18 Q Do you know how many were there, one officers,
19 several or ~-
20 A There were two.
21 Q Two different security officers, right. And did
22 they seek you out?
23 A No. l came and made them aware of this situation

24 and they told me that he was there the day before.

 

 

 

 

Case: 1:15-Cv-06494 Document #: 1 Filed: 07/24/15 Page 107 of 152 Page|D #:107

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0 So it just so happened the day -- you came one day
and he had just been there the day before. But you never
literally saw him, is that right?

A Correct.

Q And the order of protection had been in place for
nearly two years before that, correct?

A Correct.

Q And in those two years you had not seen him,
correct?

A Correct.

0 He had not called you or telephoned you?

A Correct.

0 You had not gotten any text messages from him,
correct?

A No.

0 And I'm not going to ask you what your number is.
But since the original incident of 2012, is your phone
number different?

A Yes, correct.

Q Now in regards to Facebook postings, are you his
friend on Facebook?

A He requested me, but 1 denied it.

Q So if you don't accept someone on Eacebook, can

you see what they write?

 

 

 

 

Case: 1:15-Cv-06494 Document #: 1 Filed: 07/24/15 Page 108 of 152 Page|D #:108

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h 1t was filtered into my other messages. When 1
was checking my messages one day, 1 saw, other, and there
was a 1, in parenthesis. 1 saw the name Mike Jones and that
is how it started, and 1 know 1 don't know a Mike Jones.

0 So if you see someone you don't know, then you
look at the message?

A Well, 1 wanted to see who it was.

Q And after seeing one message you say of Mike
Jones, after that first message you saw, did that first
message indicate it was from Michael O‘Connor?

A The first one didn't. 1t said 1 know of a friend.
He really wants to talk with youl and, you know, that was
just really weird for me, and 1 got scared, and 1 took
action to try to ignore it. But then the second one said
his full name and that‘s when 1 made the report.

Q Now with regard to the report, do you mean a

report to the police?

A Yes.

Q And that report was made to the Chicago Police
Department?

A Yes.

Q ls there any reason why the report was made to the

Chicago Police Department and not the Orland Park Police

Department?

 

 

 

Case: 1:15-Cv-06494 Document #: 1 Filed: 07/24/15 Page 109 of 152 Page|D #:109

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A 1 was looking at some messages from school and it
happened in Chicago as well, so 1 just asked there, and to
quickly take initiative right away, and 1 wanted this to be
taken care of because 1 still had my order of protection and
1 was scared to go to school.

Q Your allegation -- your actual petition alleged
that there was physical abuse. Has there ever been any
physical abuse?

A No.

Q lt alleges that there has been an interference
with, excuse mer physical liberty. How does, for instance,

the messages on Facebook interfere with your physical

liberty?
A l‘m sorry. What does physical liberty mean?
Q 1 don't know. It's on your petition. That is

what I'm asking youl who put that there. lnterference with
physical liberty. Do you know what that means?

A No.

Q Did you fill out the original petition or the
original order of protection?

A I'm sorry. 1 don't remember.

THE CLERH: Judge, just for clarification, this is a

stalking, no contact order.

THE COURT: Yes, it is.

 

 

 

Case: 1:15-Cv-06494 Document #: 1 Filed: 07/24/15 Page 110 of 152 Page|D #:110

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THE CLERK: And 1 don't believe that language is on the
petition.

MR. ALLEN: 1 think that it is on the petition. 1 was
just reading it from the original petition.

THE COURT: And it is in the body of the petition.
There are incidents listing verbal abuse, physical abuser
sexual harrasment, exploitation, stalking, threatening,
intimidation of a dependent, interference with personal
liberty, willful deprivation. 1‘m not sure if this was
filled out by you, Ms. Wlosik, or not. But that was the
allegations in the initial petition. But at this point we
are beyond that. What it is now is 1 am determining whether
or not there is good cause to extend this order from this
point on.

MR. ALLEN:

Q From the time that the initial order was entered
and within the time period that you reached the Chicago
Police Department, had you reached out and contacted
Mr. O‘Connor?

A No.

0 Have you reached out or contacted him through a
third party at all?

A No.

Q Have you spoken about him with a third party, for

 

 

Case: 1:15-Cv-06494 Document #: 1 Filed: 07/24/15 Page 111 of 152 Page|D #:111

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instance, a friend?

A Yes.

Q Have you ever spoken to him -~ about Mr. O'Connor
with Joey Castro's girlfriend?

A 1 don't know who that is, so no.

Q On one incident in particular, there was only a
friend request on the weekend, correct?

A No. lt was -- it was just a notification that
Michael 0. was looking at your profile. There was no
reguest; but it happened when Facebook was going on, the
DePaul and the letters, and Michael 0. 1 assumed it was
Michael O'Connor.

Q But you didnlt know for sure if it was Michael
O'Connor?

A Correct. lt didn't say O'Connor but -~

Q Now, and finally, the letters you received, when

you received those letters, you were aware that they were

from the Cook County jail?

A Yes.
Q You were aware --
A They were sent from the jail.

Q What's that?
A They were under like unit -- 1 don't have the

letters in front of me. But ~-

 

 

 

CaSe: 1:15-Cv-06494 Document #: 1 Filed: 07/24/15 Page 112 of 152 Page|D #:112

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Q And after seeing they were from the jail, you
opened the letters at that point?

A One of them was for my father and there was a
cross on the baok, and my mom got the mail, and she opened
it up, and she said, you know, is this from someone from
church writing it? So she started reading it with my father

and, you know, that*s when more letters started filtering

in.

Q Does your father work for Orland Park Polioe
Department?

A No.

MR. ALLEN: l have nothing further.

THE COURT: All right. end you rest on your motion to
extend the order of protection.

MS. WLOSIK: Yes, ma'am.

THE COURT: Counsel, do you wish to present any
evidence?

MR. ALLEN: No, your Honor.

THE COURT: At this point, based on what I've heard and
the letters that I have seen, I mean, this is a no contact
order of protection, Mr. O'Connor. That means no contact by
any means whatsoever, not in person, no phone calls, no
e-mails, text messages, cardsr letters, no communication

over the Internet. Don't have anybody else trying to

 

 

CaSe: 1:15-Cv-06494 Document #: 1 Filed: 07/24/15 Page 113 of 152 Page|D #:113

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contact her on your behalf. You stay away from any address
that is in this order. You cannot be on the property. You
can't be in the immediate area. end because you have
violated this order and sent at least four letters and tried
to reach out to her at school and reach out to her through
?acebook, l do find that there is a substantial cause to
extend this order, and this order is going to be extended
until August 20th of 2016.

So at this point for another two years you
have absolutely no contact by any means with Ms. Wlosik. Do
you understand that, sir?

MR. O'CONNOR: Yes, your Honor.

THE COURT: I‘ll return these. l don't know if you
want these back. You may want to hold onto them. Put them
away in a file. But -- so it's her schoolr place of
employment. You are not to go near her by any means
whatsoever, and you are not to contact her by any means
whatsoever. Do you understand that?

MR. O'CONNOR: Yes.

THE COURT: And again it will be in place until August
20, 2016.

Counsel, I'm signing that order now, the

extension on the order. Will you acknowledge receipt of the

'order on behalf of your client?

 

 

 

Case: 1:15-Cv-06494 Document #: 1 Filed: 07/24/15 Page 114 of 152 Page|D #:114

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MR. ALLEN: l will.

THE COURT: You will get a stamped copy in just a
moment.

MR. ALLEN: Your Honor, finally, I apologize. So the
basis of the extension, is it mostly the letters? You said
the letters.

THE COURT: The letters, the Facebook contact, and the
contact at school, but mostly the letters. l mean,
obviously they are signed by him. They reference Patrycja.
There are numerous letters. He was not supposed to have any
contact. That's the order1 That's contact. I'm surprised
he was not charged, four times. He could have been charged
with four separate misdemeanors with regard to each one of
those, and then once we prove one of those up, now we go
into the felony room.

So at this point I can't admonish you enough,
Mr. O‘Connor, no contact means no contact whatsoever; and
those letters obviously, 1 think that is very good cause to
extend this order, and the letters themselves. l didn‘t
read them out in the court. If you would like me to, l
will, They are very disturbing.

MR. ALLEN: Well, they are. My client didn‘t -»

THE COURT: Exactly. So that is why this order is

necessary, counsel, to protect Ms. Wlosik. So the order is

 

 

Case: 1:15-Cv-06494 Document #: 1 Filed: 07/24/15 Page 115 of 152 Page|D #:115

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l in place for another two years.

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MR. ALLEN: Thank you.
3 THE COURT: You could have a seat. You will get a
4 copy of the order as well.

5 (Which were all the proceedings had.}

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4/17/20§,5€@ mha § 5 GCUlCGO zva Pl\l:, IZ \/C'R lld;/»`]ng

Dearl'v'lr.Cio|dberg’,S-m;`g CT HFF€,llOCTCO%€-l: NU.. I"' “'15“05,24¢

Thank you for your letter dated April 23,2015. »-

 

le son and ward, Michael W. O'Connor, appealed his guilty plea of February 13, 2013, which
he entered in Judge Hynes' Court due to extreme circumstances (i.e. torture and deliberate
lack of treatment for his mental disabilities), since the beginning of February, 2013. Michae|
appealed , also, due to the inefficient legal advise of his legal defense counsel, in the form of
Motions addressed to Judge Hynes, to the Presiding Judge of Bridgeview Court, to Judge
Timothy Evans, and to the Appe||ate Court, since the beginning of lvlarch, 2013 - see attached

documentsl

ln your letter, you mention "a number of petitions for violation of probation”, without
specifying what petitions for what violations lt seems to me that you have been misinformed.

My son has been framed to violate his probation twice:

Even though he failed to provide my son with efficient legal defense, my son's legal defense
lawyer himself mentioned, several ti`mes, that Judge Hynes refused to order and to support my
son's much needed rehabilitation services, resorting instead, to send him to Lake Vi||a, for a
couple of weeks, and to consider him ready to be sent home, after April, 2013,Thus, my son
was purposefully set up for “a life sentence". He was extremely injured in CCDOC Maxirnum
Securityjai|, and, upon his release for Probation, he acquired, due to brutal assault that left him
almost dead, PTSD and TB|. He was not able to cope with these new diagnosesl and he smoked
marijuana ON CE. l-lis addiction, which was due to his Bipo|ar disability, was now considerably
aggravated by his new PTSD and TB| untreated symptoms Unlike judge Hynes, who, even after
five CCDOC psychiatrists diagnosed Michae| with Bipo|ar disorder, still stated, in his open Court,
"He is just fooling all of us”, Honorable Judge Amy St. lves Stated, in an FMLA case we won two
days before N|ichae| was arrested, in lune 2012, that Nlichae| ”is primarily Bipo|ar”, even if he is
an addict Beca use he tested positive for marijuana ONCE, Judge Hynes sent him to jai|, for an

indefinite amount of time. With the help of neighborsl parents from St. Barnabas parish, who

know, disagree with, and are very afraid of.|udge Hynes, | bonded my son out, for $15,000, but

 

 

 

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Case' 1'15-cv-O6494 Document #: 1 Filed: 07/24/15 Page 117 of 152 Page|D # 1

8!15/2014
To the Attentioo of the Appellate Court
l,l Valentina L. O’Connor, mother, next of kin and Plenary Guardian of Michael W.
O’Cormor, who is detained in Cook County Deparnnent of Corrections (I.D. #:
20140509336), respectfi.\lly bring to your attention the following reasons for appealing
» Mr. .l. Dii|on’s decision to indict my son:

l. The state failed to produce a probable cause, beyond a reasonable doubt, that Michael
met the “Cyber-Stalking” delinition, i.e., Michael never posed any threat, nor made any
threat, nor has he ever been violent, nor has he ever banned anyone, nor has the state ever,
since the inception of this color of crime case, examined Michael’s achievements social
stams, and prospects to develop within society. Michael has been an excellent student,

° son, and member of the community at the St. Barnabas school and in our St. Barnabas

l Parish, at Mount Carmei High School, where Michaei started his career in being a

published writer, at DePaul University, where Michael was a senior student, one 'yeer
away nom graduating with a B.A. in Comrn unications.
2. These charges are concurrent which is against the “one act, one crime” rule.
3. The “victirn” never pressed charges but other individuals who demonstrated a
constant desire to personally destroy Michael, pressed these charges
4. The No Contact Order that, assumingly, Michael violated, is a Civil Order, and
Michael should not be charged with criminal charges in connection with this order.
5. The ““victim” demonstrates the unconstitutionality of the charges against Michael by

her own statements, in text messages and in different postings on social media: “Michael

did not do anything to me. Ijust wanted to see his ass rot in ja;l», or ..Say my name, call

 

 

 

Case: 1:15-cv-O6494 Document #: 1 Filed: 07/24/15 Page 118 of 152 Page|D #:118

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me right now, I miss you, l love you so much, itE not me, but someone else who
snooped through my things, who turned you into the poiice", eto.

6. The legal defense was adverse to Michael’s defense, since it allied with the prosecutor
(they are friends, l was told by other lawyers), instigated, conspire‘,land supported
damaging slandering and unconstitutional actions against Michael at DePaul University,
after he obtained Michael‘s signature to access Michael*s school records, which, he said,
it was only to show the jrdge that Michael is in very good standing, has excellent
gtedes,etc. This resulted in Michael being 112-arresteth October 18, 2012, two days
before he was going to unveil the “victim's” plagiarism from Michaei’s papers.

The second defense atcomey , after having been paid by me a handsome retaining fee (al|
my remaining pension savings), has been given Michael’s Bond money, without my
lorowledge, and he never showed up again to defend Michae|, after the only two Court
appearances he made initially.

7. The “vic ‘ ” used to entrap Michael, by the Orland Park Folice, before and after
Michael and l filed a Complaint in the Federal Court against the Orland Park police who
violated Michaei’s constitutional rights by arresting him without a warrant; by taping his
private conversations without a warrant for a month; by refusing to allow Michael to have
a lawyer (who was waiting to assist Michael); by using excessive force against Michael;
and refusing to medicare Michael with his needed medications for his Bipolar Psychosis,
ADHD, and hypothyroidism; by coercing Michael into a confession that they wrote, and
had Michael sign it; by telling Michael that there will be no charges, that they will allow

him to catch the train to make his class at DePaul; and by reading the Miranda Rights to

Michael only after they had him sign the confession that they wrote.

 

Case: 1:15-Cv-06494 Document #: 1 Filed: 07/24/15 Page 119 of 152 Page|D #:119

The Orland Park police also framed Michael in connection with the CCDOC to be almost
fatally beaten by a gang member, in Division 10 for the Criminaliy Insane, where they
placed Michael, with the statc’s conspiracy and revenge (because 1 called the DA office to
tell the prosecutor that Michael is mentally ill,”She got mad”, said the sheriff who told
Mieheel use he will ge net ime the general population bel le the Mexlmem seems
Division 10), the Orland Park police and the state, conspiring to throw Michael in prison
“for along time”, llc-arrested Michael while he was in Division 10, and had Michae|’s
cellmate be informed that the reason why Michael was taken out for 24 hours, was to
“rat” on him, after which this inmate almost killed Michael in a brutal assault

The assault was also due to Michael's excessive bail and unusual punishment Michael’s
bond was “No Bond” or $l,350,000, while “killers” in Maitimum Security had a bond of
epprexlmerely sloo,ooo. They did net believe Mleheel when he sold chem er wise he
was accused, and they treated Michael as a sex oit`ender(\l- 5 - F.).

8. Michael was not medicated for a total ot` more than thirty two days, until he reached
the symptomatic stage of his mental illness, and the Orland Park police, together with the
prosecutor and a biased judge (who refused to even look at the discoveries that would
have proved Michaei’s charges unconstitutional, and who accepted the “iiuit of the
poisoned tree" evidence of the State) conspired to have Michael re-arrested four
consecutive times, including when Michael was on bond and did not commit any trespass
against his probation for concurrent sentences

9. Michael was pushed into a wrongful conviction by his lack of treatment for his mental
iilness, and by having been assaulted repeatedly, and he did follow the wrong legal advise

of a legal defense who worked against him, yet took all my money.

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Case: 1:15-Cv-06494 Document #: 1 Filed: 07/24/15 Page 120 of 152 Page|D #:120-_

10. Michael has been detained in harsh conditions for over 265 days, without being
allowed to have a trial.

ll. Michael has been constantly oppressed, tortured, violated in his constitutional rights,
e.g., his right to a speedy u'ial, his right to be left alone and not intruded upon; spied upon
in his private conversations; his right to have a probable cause beyond a reasonable doubt
(it was the “victim"s father who, with impunity, dictated the tone of Michael’s abuse by
the state actors in this color of crime case: he stated “If he (Michael) is crazy, he might
do something to my daughter”, and the “victirn's” mother stated, “Michael might bring a
gun to school”,etc.

12. Michael has been excessively and cruelly punished for exerting his Freedom of
Speech, i.e., Michael wrote Love poems to the “victim” and used metaphorical language
containing no threatening statements like the malicious and revengeful prosecution stated,
by taking words out of their context within the ]nn'agraphsl or by, maliciously and
incomly, wierprénhg that ar ihs end ors paragraph in which Michasl describes his
disappointment with the “victim‘s” manipulations and bullying of Michael, he states, “F...
You”, which is interpreted by the prosecution as “ this can be construed as a specific
threat of sexual assault"; and declaring Michael, despite his expert witness testimony that
Michael has not been and he is not a danger to society, still the malicious prosecutor,
mocking the expert witness and Michael’s disabilities (his well-documented Bipolarity
and ADHD) stated, “Judge, he is a danger to society and he should be locked up" in
Maximum Security jail with No Bond.

13. As of 8/17!20!4, Michael is still in Maximurn Security, Solitary Conf'lnement (which

is cruel and unusual, as per the Suprerne Court .lustices, especially in someone like

 

 

Case: 1:15-Cv-06494 Document #: 1 Filed: 07/24/15 Page 121 of 152 Page|D #:121

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Michael’s case, who suffers from Bi-Polar disease and from exn‘emef;epress]ion, anxiety,
is suicidal, has numerous injuries caused by his repeated assaults by the state actors;
used by the “victim’s” father for his own interest; and against whom the state used
excessive fcrce, assaults, death threats and coercicn, to push him into a wrongful

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connicticn);pntn him in CCDCFC, Dlv vsicn lO, with No Bond and extremely hurt (see

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attached discoveries), with broken bones, PTSD, TBI, head concussions, suicidal ideation,
extreme anxiety (due to the assault he suli`ered in the Bond Cc511rt, on May, 9“’, 2014,
when, u;nmedicated for a week, after his sixth arrest, despite the fact that I insisted on
handing all Michael’s medication to the poiice, and explained to them that Michael
absolutely needs them, to avoid him being hurt. The police who arrested Michael on
5/05/‘2014 did not medicate and then mid-medicated Michael the night before court also).
Michael that morning stated in court, “Nc, no, ncl” to the three more criminal charges
that the prosecutor was leading against him. In the presence of the Bond Court Judge and
in front of the people in the Court, then, Michaei was knocked on his head, trampled
down, knocked in his face (which resulted in breaking his nose and distorting his facial
featl.tres), then dragged by the Judge’s chambers, in the hallway, and, while handcuffed
wah his hands in the anne rnur sheriffs kicked him in md ada hdnd, hndy, until any lea
him twice unconscious, in blunt trauma, not breathing, with dislocated vertebrae, head
concussions, broken teeth, maxillary, knee, bleeding from his face, heed, and nose. When

he stopped breathing an ambulance was called and he was brought to Mount Sinai

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Hospital. The same interim continue to make death threats tc Nlichael and to press more
charges on him, by entrapping him, charging him with three more criminal charges -

seven up to this date ~ and pretending that Michael hurt them.

 

 

Case: 1:15-Cv-06494 Document #: 1 Filed: 07/2WM22 1

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STATE OF ILLINOIS ]
) SS:
COUNTY OF C O 0 K )
IN THE CIRCUIT COURT OF COOK COUNTY, ILLINOIS
CDUNTY DEPARTMENT, CRIMINAL DIVISION

PEOPLE OF THE STATE OF
ILLINOIS,

Plaintiff,

>
)
)
)
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-vs~ ) No. 12 CR 126?8
>
MICHAEL O'cONNOR, )

J

>

Defendant.

REPORT cs PsocEEoINes had in the above-entitled'

matter before the chorable John Joseph Hynes, Judge of said

_court, on the l?th day of Octcber, 2014, at the hour of

11:30 abmi

PRESENT:

HON. ANITA M. ALVAREZ,

`STATE'S ATTORNEY, COOK COUNTY,

MS. CHERYL GALVIN ,

ASSISTANT STATE'S ATTORNEY,
appeared on behalf of Plaintiff;

MR. SHAY ALLEN,
appeared on behalf cf Defendant.

Elizabeth Ciszewski, OCR 084-002587 Bridgeview, Illinois

 

Case: 1:15-Cv-06494 Document #: 1 Filed: 07/24/15 Page 123 of 152 Page|D #:123

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ELIZABETH- CISZEWSKI, OC_R
10220 W» 76th Avenue, Room 958
1 Bridgeview, IL

mm _ ' cAsE _
10-1?-14' People vs. Mich#él o'connor,

12 CR 126?8
Judge Hynes

5 P§é¢ at $3-15 `per pga ..$15.?5

Name; valentia o'connor_

'Phone: 1*773-238-0630

 

 

#:124
Case‘ 1'15-Cv-06494 Document #: 1 Filed: 07/24/15 Page 124 of 152 Page|D

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z county DEPARTMNT, MUNfcIPAL DIVISIQN

` l, Elizabeth Ciezeweki, an official court
reporter fcc the Circuit Court of Ccok Ccunty, Ccunty
Department, Criminal/Municipal:Division, Illinoielt do
hereby certify that I reported en shorthand the evidence had
in the above-entitled cause end that the foregoing is a true
and correct traeecript to the best cf my ability cf all the
proceedings had;

  

 

Officlal Cch;F re orter,
No. 034-002587

named ghieMeey e&§z§ui 2014 en.

 

 

Case: 1:15-Cv-06494 Document #: 1 Filed: 07/24/15 Page 125 of 152 Page|D #:125

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THE CLERK: Michael O‘Connor, probation.

THE COURT: All right. This is Michael O‘Connor.
Counsel.

MR. ALLEN: Yes, your Honor. My name is Shay Allen,
S-h~a-y, on behalf of Mr. Michael O'Connor.

THE COURT: All right. First piece of business here is
it looks like the defendant's mother tried to file a notice
of appeal on any bond issue here and she also filed -- is
this from her too today?

MR. ALLEN: I became aware of it afterwards, your
Honor.

THE COURT: All right. You are not adopting thisr are
you?

MR- ALLEN: Your Honor, I am not adopting the motion.
I explained to Ms. O'Connor that --

THE COURT: All right. The motion filed by Valenti
O'Connor is stricken. The notice of appeal filed by Valenti
O'Connor is stricken, and Ms. O'Connor is'here, and I'm
going to admonish you right now, you file any other motions
in this case e- your attorney is the attorney of reoord.
You file any other motions in this case, you are in direct
criminal contempt of court, and you will be looking at jail

time. Do you understand that?

MS. O'CONNOR: Sir -"

 

 

 

Case: 1:15-Cv-06494 Document #: 1 Filed: 07/24/15 Page 126 of 152 Page|D #:126

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THE COURT: Do you understand that?

MS. O'CONNOR: l do understand.

THE COURT: That's it.

MS. O'CONNOR: I have the right to file a motion.

THE COURT: You do not have the right to file a motion
and you are going to be held in contempt right now.

(Discussion had between Ms. O'Connor and counsel
off the record.)

THE COURT: All right. What is the status of the other
cases and this case, State?

MS. GALVIN: Judge, as of now, the other cases have
been elected. With respect to that matter, the defense
attorney has had the defendant BCXed for several reasons
including fitness to stand trial, sanity. I have confirmed
with Mr. Allen as well as the TASC representative that they
were contacted by forensic clinical services who wanted
additional information in order to finish that report on
those matters. Apparently, there was a return on the
fitness to stand trial, however, based on the judge, Judge
Higgins, she wanted a second evaluation or a re-evaluation
done, so they are waiting for that to come back. The next
court date is 10/21. In addition, counsel has hired a

private psychiatrist to have the defendant evaluated for

those same_reasons.

 

 

Case: 1:15-Cv-06494 Document #: 1 Filed: 07/24/15 Page 127 of 152 Page|D #:127

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MR. ALLEN: That's correct, your Honor.

THE COURT: All right. Do we have any idea of the time
table on all of that?

MR. ALLEN: Everything should be done very soon, your
Honor. Both processes are well under way, so I'm just
asking for November 7th.

THE COURT: I can't do it then. We are looking at
December 5th, 12th, something like that.

MR. ALLEN: If that's the earliest, your Honor,
December Sth.

THE COURT: All right. By agreement, December 5th.

(Which were all the proceedings had.)

 

 

S”'Dis'“'°"' - mem #: 1 Filed: 07/24/15 Page 128 of 152 PagelD #:123
W-cv-OMQM

 

 

 

 

 

 

 

 

‘ie|ony _ , (3!14/05) CCCR 0662

__\_\_\_\_`_\__ - ___
' - a ______-c ' IN THE CIRCUIT COURT OF COOK COUNTY, IleOlS

The People of;the Stato ofl'llinois COI\¢IPLAINT FOR PRELIMI]\IARY EXA]\HNA'I'ION'
Plaintlii'_
v, No. / 19 5'_ >/ ¢>_` 9/
’ /
Michael W O'Connor .
Defondant

1 PatrycjaR Wlosik complainant now appears before
(Complainan¢'a blame Prloiad or Typed}

Tlr *lir Court of Cook Coonty and states that

 

 

 

 

 

 

   
  
 
 
 
 

 

 

 

rachel W o'cenner 10732 s seeley Ave chig_gin_ ssa on m- about
fDl:l'eldnnt} [Adds'css)
uscs-12 .¢ 11635-- nunez or orde Park cook `cmmzy 11,
l {Date) (I'hu ol` animal 1
committed t_he offense of ` Cyb€rs'talkin 1 y n in that sine
knowingly and without lawful justificmjon on at least 2 separate occasions harass ' - victim through the use of electronic communication
andtrmsmittedsthrestofsexdal assault

 

 

 

 

 

 

 

 

 

 

 

 

 

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STATE GF M[NOIS ; ' . 11635 Bm'n]oy‘Dr, 'OrIand Pa.dc, ]1, 60462
` ' _ ' " " ' ' memphst ucmj '" (T¢l¢ph¢n¢ No.)

max mm l e. mm s. ms Av¢., nndgeview, n. _

' Psn-ycja R Wlosik

[Complainaul'a Name hinted or 'I`yped]

being first daly sworn, 'Pa!rycjaRWlosik on oath, deposes and says that sihe road the foregoing

 

complaint by `himfhor subscribed and dust the same is trus.

1 Wé"'" l"\’ *¢ `*\-
(Compla.il_lant's S§gnatare}
Subscrlbed and sworn to befoi'e me _"S'§N€_ \LI ,-. » .a§_La_

  

I have examined the above complaint and the person presenting the same and have heard evidence thereon, and am sstisliod that there is
probable cause for filing same. lme_is given to tile said complaint '

 

 

 

 

 

 

Summons issuod, .ludge

or Judge'o No.
Warra_nt Issusd, Bail sat at, `

or
Bail set lt .* ' Judge

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DOROTHY BROWN, CLERK OF THE C{_RCUIT COURT OF COGK COUNTY
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Case: 1:15-Cv-06494 ocument ` . 7/24/15 Page 129 of 152 Page|D #:129

RUN DATE: 05/14/14 SHS Emergency Department *LIVE* PAGE l

RUN TIME: 1213 Assesament Data
RUN USER: TORKIM

 

 

 

 

 

05/09/14 - 1508 - Reyes,Sara, RN

Is this a CODE YELLOW? N Amhulance Co. CPD beat:

Requirea IMMEDIATE Li£e~Baving Tx? N # CPD badges
Update Allergiea & Beme Meds Y

Arrival Mode Ambulance
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Temp: 36.9 C T Srce 0 Temp 98.4 F
keep 13
spoza 96
FLOWRATE OR %: RA i.e. 2L or 35% or RA (Room Air]
nccucheck High/Lew?

ESI Age Category 4 : 2
Pt Btatue None Applicable
Reaources Req'd Many
Calculated ESI 3 q Patient Priority 3
Smoking Statue Current every day smoker
Paet Mrdical Hietery? Yes

Asthma CAD Cancer Cardiac CHF COPD
CRF CVR DM Drug Abuse DVT/PE Hepatitis
HIV HTN Hyperlipidemia MI Peych Y sickle Cell
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Is this a febrile/£lu like illneae?
Immunizationa

Tetanua ¢BYRS
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Domeetic Violence, Child Ahuae/Neglect
or Nuraing Home Abuee/Neglect? N
Ia this patient a fall riek? N
Hietory of current mental health iasue?
Ieolation History on Next Page ->
Triaga Note: PT IN CPD CUSTODY HAD ALTERCATION WITH SHERRIF
DURING COURT, STS WAS “KICKED IN FACE, GROIN AND
RT SIDE RIBS BY COPS." +LOC. NOTED DRY BLOOD
AROUND NOSE AND MDUTH. PT ON BACK BOARD WITH
C-COLLAR. A&OXB, CRYING, ANSWERING ALL QUESTIONS.
DR LOUZON AT BS FOR ASSESSMENT.

 

Other Isoletions: Initieted: At:
Precautionez
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Case: 1:15-Cv-06494 Document #: 1 Filed: 07/24/15 Page 130 of 152 Page|D #:130

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encouNT No. 000151349313 Aoalssloa DATE 0&09;14 MEDICAL REcoRo No. 0031?3193
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TYPE ADM lNo IN Locmoa:semnce SLJR socuu. secunrrv ae. 325.86-6966
PAT|ENT PATIENT
NAME OCONNER,M|CHAEL mrs oF alma 06!1 8190
sraeer 10732 S SEELEY AVE AGE 23
consumle CHICAGO.|L 60643-3315 SEX M
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couaw mn.srs. NEVER MARR
PATIENT' EMPLOYER PERSON TO NOT|FY
NAME UNEMPLOYED name OCONNER. MICHAEL SR
STREET STREET 10732 S SEELEY AVE
cn'wsra'rezzm em:sTA'rE,'zlP CH|CAGO, |L ®643-3315
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GUARANTOR HEXT OF K|N
NAME OCONNER,M|CHAEL we OCONNER,M|CHAEL SR
sraee~r 10732 S SEELEY AVE sinee'r 10732 S SEELEY AVE
crms'rA‘rE)zlP CH|CAGO.!L 60643-3315 cmrsTATE;zIP CH|CAGO,|L 60643-3315
man 773~238-0660 soc. sec. an 325~86-6965 HoME z ?73-330-6024 wom: s RELAT. FA
we UNEMPLOYED aaalvAL none CFD24
sTaEET swenson 1 Vafa,Amir MD
crrwsrare;zlp envelan 2 Vafa,Amir MD
mcan Pco Non-Staf|‘,Phys|cian
lNSURANCE POL|CY NUMBER COVERAGE NO. SUBSCR|BER

SEL.F PAY OCONNER,M|CHAEL
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coamea'r POLICE GUARD
season Foa visa BLUNT TRAUM+LOC
REFERR|NG F'HYS|C|AN LAST HOSPiTALIZAT|ON
NAME wHERE NO
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Case: 1:15-Cv-06494 Document #: 1 Filed: 07/24/15 Page 131 of 152 Page|D #:131
l '- w OP\.\ § \\\( -i’\(_/

M 0 U §_T B I N_§ I B 0 8 P I T_§ L M E D I C A L C E N T E 1
CALIFORNIA AVENUE AT lSTH ST
CHICAGO, IL 60608
PSYCHIATRY CONSULT

iii****************************ii*********'**'*********i'****I'***'k******I'*I'********'*****l'*****

PATIENT name MICHAEL ocoNNER ACCT #= 000151349313
MR#= 0031?3193 AGE; 23
sEx= M sIRTHDATE: 06/18/90

ATTENDING PHYSICIAN= vafa,Amir M:o
ADMIT/REGISTER DATE= 05/09/14

ASSESSMENT:

1. Bipolar disorder, depressed, status post blunt trauma. He
was beaten up to head and abdomen. Nondisplaced nasal bone
fracture as a result of blunt trauma.

2. Hypertension, per patient.

3. Hypothyroidism, per patient.

REcom#ranATIoNs = _

The patient still expresses suicidal ideations. Would benefit
from continuation of l:l sitter. The patient currently takes
Zyprexa 5 mg in the morning and 10 mg at bedtime. The patient
complains of feeling extremely sleepy after taking zyprexa in the
morning, so we will recommended to change the zyprexa to 15 mg at
p.m._ He also was started on Depakote 125 mg twice a day. It is
a very small dose. Reccmmended to increase the dose to 500 mg
twice a day.' The patient has no liver function tests.
Recommended to obtain liver function tests and also TSH as
patient reports tHat*TE;lEE;l;EEEE?? of hypothyroidism. Monitor
condition. Psych will follow up tomorrow. Discussed with trauma
resident on call.

DICTATED BY: Elizabeth Mirkin, MD
EM: TID93529768

***'*********k*i"***i*******i***'i***********'i'*****i******************************************

D: 05/10/14 1833

[30] Elizaheth Mirkin
trans by: EMDAT

trans date: 05/10/14

e-signed on: at

0512-0060

BHS PCI **LIVE** [PCI: OE Database MSC) DRAFT COPY

 

 

 

Case: 1:15-Cv-06494 Document #: 1 Filed: 07/24/15 Page 132 of 152 PagelD #:132

Psychiatrlc Progress Notes
Mount Sinai Hospital

Patlent Namo: MlCHAEL OCONNER Acct #: 000151349313
MR #: 003173193 Room#: N206-02

Date of Birth: 06!18!90 Service Date: 05!11)'14
Admlt Date: 05!09!‘14 Service Time: 0824

Dail Pro ross Note
Time of patient visit: 0815
*

Psychiatric follow upi

Pt is a 23on WM,. with hlo bipo|ar disorder. presenting from jail court after he became aggressive during

he court and was assaulted by sherist police by lists to the head and abdomen with + LOC. Pt cun'ently in
police custody.

Pt ls under trauma service. Psychlatn'c evaluation was done on 5!10!14.

Pt was seen for follow up. Charl reviewed discussed with staff. Pt states "l have F-‘TSD"~ he reports "having
ilashbacks of hitting up" and had nighmare last night as we|l. Pt states that now he has flashbacks of
previous traumatic expresinces as wel|. Pt denies haiving suicidal at this time. but states he does know how
he will feel and how he will mact. He is afraid he might hurt himself if starts feeling more depressed Pt has
no psychosls.

His speech is not pressured and there is no flight of ideas. Affect is constricted, intense mood is anxious
Pt states he does not like to take Xanax or K|onopin because does not want anything addicting, but believes
that Vallum is notes addicting and was prescribed Valium by primary team.

labs reviewed: LFTs and TSl-| norma|.

A: Bipo|ar dlo, depressed PTSD.

blunt head trauma Headache

P: conf 1;1 sltter

cont Zyprexa 15mg qpm,

cont Depakote 500mg bid,

Conl Valium, change the dose to 2mg thrs pm.

Add Prazosln 1mg now once and 2mg qhs, hold 'rf BP <100:‘60 - given to address PTSD sx.

When medicallly stable, will need transfer to psychiatric inpatient unit, Pt is in police custody and will need to
be transferred to Cermak.

psych will follow while the patient is in the hospital
Dlscussed with trauma resident

Dr. Mirkin, p 16467.

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Transcribed Date/Time

05/11/14 0824

Entered/S:Lgned by Provider:

Date/Time

AT Electrcnic Signature by Mirlcin, Elizabeth
05/11/14 0856

0511~0088
Run: 05/14/14-12:13 by Tcrres,Kimberly

 

 

Case: 1:15-Cv-06494 Document #: 1 Filed: 07/24/15 Page 133 of 152 Page|D #:133

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

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_ AC# 000151349313 .
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Case: 1:15-Cv-06494 Document #: 1 Filed: 07/24/15 Page 134 of 152 Page|D #:134

 

 

 

 

 

 

 

 

 

 

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000151349313 .
°c°“"ER'“'CHAEL aggrier
TRAUMA EVALUATION HlSTORY & PHYSICAL :“~_23 06118!90 0031?3193
Pri:
Trauma Attending Note:
Above Residents Hlstory, Phys|cal and Plan reviewed. l agree with both assessment and plan.
Patient interviewed by me. Brleliy, history of present illness is:
+ 5 l biggs ‘{° b»jz gAb~:-A" U)t'/’C',
fé_gl¢~s ¢OA*- -`-- \..».-.'rr._l~4r /€) b»oz- M_f
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On examination,|found: *L!*r-LU\€'$, GCS l~$'¢ {'l'}‘g¢:r’s.`¢»~ao ¢*'_!j-‘-"\“'i

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Assessment&Plan: {H" Jllg_ WC“'°¢"-="'\- t \"f§_ao D.¢_.'gs_‘____

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U Expact 08 > 2 midnights (MCR) Anllcipated DlC dispo:

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Trauma Attendi g naturel'Pager No.'

 

 

 

 

 

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0508?9 1114 . . - Page 4 of4 .Form 730

 

 

 

 

Case: 1:15-Cv-06494 Document #: 1 Filed: 07/24/15 Page 135 of 152 Page|D #:135

Mt. Sinai Hospital
Department of Imaging Services
California Avenue at 15th Street
Chicago, Illinois 60608

Name: OCONNER,MICHAEL

Phys: Williams;Meredith MD

DOB: 06/18/1990 Age: 23 Sex: M
ACCt: 000151349313 LOC: Nle 01

Exam Date: 05/09/2014 Status: DIS INO
Radiology No:

Unit NO: 003173193

***** Report is Signed *****

EXAM§ TYPEZEXAM RESULT
001907153 CT/CT BRAIN WO CONTRAST

EXAM: CT BRAIN WO CONTRAST

fl._d_-_"""'*----_._._._-'-"'_-_'"
CLINICAL HISTORY: TRAUMA RESUSCITATION
COMPARISON: None
FINDINGS: The cerebral and cerebellar hemispheres are normal in
attenuation and morphology. There is no intracranial mass, hemorrhage
or abnormal extra-axial fluid collection. The lateral ventriclee are
normal in volume and midline is maintained. The maatoid air cells and
paranasal sinuses are normally pneumatized.
IMPRESSIQN: Nb acute abnormality.
Eiectronically Sigaed By: Carl Valentin, MD

** REPORT SIGNED IN OTHER VENDOR SYSTEM 05/09/2014 **
Reported By: Valentin MD, Carl N.

CC: Harvey Louzon MD; Meredith Williams MD

Technologist: Green,Eloiae

Transcribed Date/Time: 05/09/2014 (1551)
Transcriptioniat: VALCA

Printed Date/Time: 05/14/2014 (1213)

PAGE l Signed Report Printed From PCI

 

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Case' 1'15-Cv-06494 Document #: 1 Filed: 07/24/15 Page 136 of 152 Page|D # 13

Mt. Sinai Hospital
Department of Imaging Services
Callfornia Avenue at 15th Street
Chicago, Illinois 60608

l Name: OCONNER,MICHAEL

Phys: Williams,Meredith MD
DOB: 06/18/1990 Age: 23 Sex: M
ACCt: 000151349313 LOC: Nle 01
Exam Date: 05/09/2014 Statua: DIS INo
Radiology No:
Unit Nb: 003173193

***** Report is Signed *****

EXAH TYPE EXAM RESULT
001907184 CT/CT CERVICAL SPINE WO CONTRAS

EXAM: CT CERVICAL SPINE WO CONTRAST
CLINICAL HISTORY: TRAUMA RESUSCITATION
COMPARISON: NOne

FINDINGS: The normal lordotic curvature of the cervical spine is

imain;ained. Intervertebral disc and vertebral bo y heig are

LMPRESSION: Nb acute abnormaliby.
Electronically Signed By: Carl Valentin, MD

** REPORT SIGNED IN OTHER VENDOR SYSTEM 05/09/2014 **
Reported By: Valentin MD, Carl N.

CC: Harvey Louzon MD; Meredith Williams MD
Technologist: Green,Eloise

Tranacribed Date/Time: 05/09/2014 (1552)
Transcriptioniat: VALCA

Printed Date/Time: 05/14/2014 (1213)

PAGE l Signed Report Printed From PCI

 

Case: 1:15-Cv-06494 Document #: 1 Filed: 07/24/15 Page 137 of 152 Page|D #:137

Psychiatric Progress Notes
Mount Sinai Hospita|

Patient Name: M|CHAEL OCONNER Acct #: 000151349313
NlR #: 0031?3193 Room#: N206-02

Date of Birth: 06!18!90 Service Date: 05!11!14
Admit Date: 05/09)'14 Service Time: 0824

Daily Progress Note
Time of patient visit: 0815
#

Psychiatric follow up.

Pt is a 23on WM.. with h!o bipolar disorder. presenting from jail court after he became aggressive during

he court and was assaulted by sherist police by lists to the head and abdomen with + LOC. Pt currently in
police custody.

Pt is under trauma service. Psychialric evaluation was done on 5l10l'14.

Pt was seen for follow up. Charl reviewed, discussed with staff. Pt states "l have PTSD"- he reports "having
liashbacks of hitting up" and had nightmare last night as weii. Pt states that now he has flashbacks of
previous traumatic expresinces as we||. Pt denies haiving suicidal at this timel but states he does know how
he will feel and how he will react. He ls afraid he might hurt himself if starts feeling more depressed Pt has
no psychosis.

His speech is not pressured and there is no flight of ideas. Affect is constricted, intense, mood is anxious.
Pt states he does not like to take Xanax or K|onopin because does not want anything addicting, but believes
that Valium is not as addicting and was prescribed Valium by primary team.

labs reviewed: LFl's and TSH normal.

A: Bipo|ar dlo, depressed. PTSD.

blunt head trauma. Headache

P: cont 1;1 sitter

cont Zypnexa 15rng qpm,

cont Depal<ote SOOrng bid.

Cont Valium, change the close to 2rng thrs pm.

Add Prazosin 1mg now once and 2rng qhs. hold if BP <100!60 - given to address PTSD sx.

When medicalliy stable, will need transfer to psychiatric inpatient unit, Pt is in police custody and will need to
be transfened to Cen'nak.

psych will follow while the patient is in the hospital.
Discussed with trauma resident

or. Mrrkin, p 16467.

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Tranecribed Date/Time

05/11/14 0824

Entered/Signed by Provider:

Date/Time

A'I' Electronic Signature by Mirkin,Elizabeth
05/11/14 0856

0511-0088

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Case' 1'15-Cv-06494 Document #: 1 Filed: 07/24/15 Page 138 of 152 Page|D #:138

Traurna Surgery Progress Note
Mt Slnai Hospital

Patient Name: |VllCHAEL OCONNER Acct #: 000151349313
MR #: 003173193 Roorn#: N206-01

Date of Blrth: 06!18790 Service Date:
05)'10)'14

Adrnit Date: 05!09l 14 Service Time: 0651

ll )Acetarninophen/l-lydrocodone Bitart:
1-2 TABLETS
PAlN 1-5: l TAB
PA|N 6-10: 2 TABS

Problem List
Medical Problems
Bipo|ar disorder
Biunt trauma of multiple sites

Assessment and Plan
23yo bi polar M presenting from bail court after he was assaulted by sheriffs police by fists to the head and
abdomen with + LOC and expressing Si, denying this am. Pt currently in police custody.

Biunt trauma

- CT head. abd!pelvis, CXR, clear

- c-coiiar cleared

- CT facial bones with equivocal non-displaced nasai bone fracture
- flu PT!OT recs

- flu SW rees

Sl. resolved as of this arn per pt
- 1:1 sitter

- fiu SW recs

- flu psych recs

FEN

Dispo
- pending psych clearance; to police custody

 

Lauren lviyers, MD
Trauma service PGY-1
Pager 16446

ADDENDUM: Vafa MD,Amir on 05/10/14 at 1250

Run: 05/'14`/14-12 :13 by Torres,Kirnberly

Aclditional copy Page 5 of 5

 

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Case: 1:15-Cv-06494 Document #: 1 Filed: 07/24/15 Page 139 of 152 Page|D #:139

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

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l 0 0 b Irrrur 0
_ AC# 000151349313 .
r OCONNER,MICHAEL 0§?0'§§14
_ zimz"* 06118!90 003173193
TRAUMA EVALUAT!ON HlSTORY & PHYSICAL Pri:
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Case: 1:15-Cv-06494 Document #: 1 Filed: 07/24/15 Page 140 of 152 Page|D #:140

 

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000151349313

OCCN ONNER .M|CHAEL 0;:‘§!9!14

TRAUMA EVALUAT|ON HISTORY & PHYSICAL run 06!18190 003173193
Pn':

Trauma Attencllng Note:

Above Residents Hlstory, Physical and Plan reviewed l agree with both assessment and plan.
Patient lnterviawed by me. Briehy. history of presem i1|ness is:

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§ M~»¢l JL w415 2101’ w-l)

 

 

 

 

 

 

Assessment&P|an: H'».S'le WLM=-M. ,0§$___40 m :c$.

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[:| Expaci 03 > 2 midnights [MCR) Anticipated DIC dispo:

 

 

 

 

 

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Case: 1:15-Cv-06494 Document #: 1 Filed: 07/24/15 Page 141 of 152 Page|D #:141

Psychiatric Progress Notes
Mount Sinai Hospital

Patlent Name: MICHAEL OCONNER Acct #: 000151349313
MR #: 0031?'3193 Roorn#: N206-02

Date of Birth: 06118!90 Service Date: 05)'10»'14
Admit Date: 051'09!‘14 Service Time: 1904

Daily Progress Note
Time of patient visit: 1730
JI¢

Psychiatric evaluation. See dictated report #13066828.

Pt is a 23on WM.. with hio bipolar disorder, presenting from jail court after he became aggressive during
he court and was assaulted by sheriffs police by fists to the head and abdomen with + LOC. Pt currently in
police custody.

Pt is under trauma service. Psychiatric evaluation requested due to expressing suicidal ideations.

A: Bipoiar dio, depressed.

blunt head trauma.

P: cont 1;1 sitter,

change Zyprexa to 15mg qpm.
increase Depakota to 500mg bid,
order LFT and TSH

psych will follow.

Thank you for referral

Discussed with trauma resident.

*****'****'*"*****i"i'***'*******'k*'k*******'*******'k******‘k**************'k*****ir*****'-
Transcribed Date/Time

05/10/14 1904

Entered!Signed by Provide:r::

Da.te/T:i.me

AT Elect:rc)nic Signature by Mirkin,Elizabeth

05/10/14 1955

0510-0314
Run: 05/14/14-12:13 by Torres,Kimherly

Additional copy Page l of l

 

 

 

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TRAUMA EVALUATION HISTORY & PHYSICA
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050579 Reu. (DQFOB) Page 2 of 4 FORM 550
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Case: 1:15-Cv-06494 Document #: 1 Filed: 07/24/15 Page-143 of 152 Page|D #:143

 

 

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TRAUMA EVALUATION H|STORY & FHYS|CAL

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Case: 1:15-Cv-06494 Document #: 1 Filed: 07/24/15 Page 144 of 152 Page|D #:144

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Case: 1:15-Cv-06494 Document #: 1 Filed: 07/24/15 Page 145 of 152 Page|D #:145

 

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Paqs 2 of 4 FQRM 530
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Case: 1:15-Cv-06494 Document #: 1 Filed: 07/24/15 Page 147 of 152 Page|D #:147

M 0 U N T S I N A I H 0 3 P I T A L
California and 15th. Street
CHICAGO, IL 60608
MEDICAL RECORDS DEPARTMENT 773-257-6706

DISCHARGE SUMMARY
****o*+*********************+*****************w********************************1**1******

PATIENT NM= MICHAEL ocoNNaR MEDICAL Rsconn Norrssn= 003173193
ADMIT DATE= 05/09/14 A'r'rsnnrno DR= vafa,Amir r-m

Ac<:T #: 000151349313 LocATIoN; Noz

o/c: DATE= 05/12/14 ssr/Loc=

**'!r'k***********i***'r\'i"*******'******************************************************'k******

bipolar disorder and suicidal ideation. The patient denied
suicidal ideation throughout his hospital stay. Psychiatric
medications were adjusted; Olanzapine dosing was consolidated
from 5 mg every morning and 10 mg every evening to 15 mg every
afternoon. Depakote dosing was increased from 100 mg eve
morning and 150 mg every evening to 500 mg twice d ‘ly.I Prazosin
pr was added for posttraumat stress disor sym cms but was
mmm:§;)L rs;atieno
reported ing£§as§d_ag§igty during his stay at several points.
Valium 2 mg every eight hours as needed for anxiety was
`*“_in§€it§§€d`with good results. On the morning of May 12, 2014,
patient was medically cleared and able to be discharged to the
Cermak Psychiatric Facility.

DISCHARGE DISPOSITION:
Cermak Psyohiatric Service.

DI§§EARGE MEDICATI '

Norco 5 m gla§§ag;gehisppg every afternoon,

Dep 500 mg twice daily, Valium 2 mg every eight hours as
needed for aa:l:rr:!.et}‘c..H ’ `
F___H_,

DISCHARGE DIET:
Regular diet.

 

DISCHARGE INSTRUCTIONS:
Patient instructed to follow up with plastic surgery clinic
regarding nasal bone fractures as needed.

PLAN:

Patient discharged in custody to police to Cermak Psychiatric
Service.

DICTATED BY; Mark POStEl. MD{R)

SHS PCI **LIVE** [PCI: OE Database MSC}

 

Case: 1:15-Cv-06494 Document #: 1 Filed: 07/24/15 Page 148 of 152 Page|D #:148

Trauma Surgery Progress Note
Mt Sinai Hospital

Patlent Name: MlCHAEL OCONNER Acct #: 000151349313
MR #: 0031?3193 Room#: N211-01

Date of Birth: 06!18!90 Service Dato:
05:'12!14

Adrnit Date: 05!09!14 Servlce Time: 0729

* *See Addendum* *

Sur e Pro ross Note-0

Time of patient visit: 0729

Subiective

Patjent states that he ls doing well today. No complaints ovemight. Soms nausea but no vomiting. States that he
has pain stlll in his ribs and back. No evidence of pressured speech or mania currently.

Vitals
Vital Signs

 

 

Date Temp Pulse Resp BfF' Pulse Ox FiOZ
05/'11 97.7-98.4 46-68 15-17 92-119!57CL-66 97-98

 

 

 

 

 

 

 

 

 

 

Physical Exam

Consltutional: well-appearing mals, pleasant asleep in bed but arousable, NAD.
HEENT: ecchymosos under both eyes, EOM!, PERRL, oropharynx clear
Respiratory: CTAB, no wheezes or rhonchi

Cardiovasular: RRR, normal 81!32, no murrnurs

Chest (breast): non tender to palpatlon

Gastrolntestinal: soft, nontendsr. nondistendod, + bowel sounds

Neur'ologic: no focal deficits

Mental Status: A!O x 3

l.ABS-Last
Laboratory Tests
05/11/14 0557:
Bedside Glucose l 12

05/11/14 0446:

 

140 lp:r | 13
?
4.1 is l 1.09
Anion Gap 5, G|omeru|ar Filtratlon Rate Calc > 60,. BUN/Creatinine Ratio 12, Tota| Calcium 8.5, Total

Bilirubin 0.3, Aspartate Amino Transf (AST!SGOT) 24, A|anine Aminotransferase (ALT/SGPT) 34, A|l<al_ine
Phosphatase 47, Serurn Total Protein 5.7, Alburnin 3.4, A|bumin/G|obulin Ratlo 1.5, Thyroid Stimu|atlng

Ru.n: 05/14/14-12:13 by Torres,Kimberly

Additional copy Page 1 of 4

 

Case: 1:15-Cv-06494 Document #: 1 Filed: 07/24/15 Page 149 01 152 Page|D #:149

Trauma Surgery Progress Note
Mt Sinsi Hospital

   
 
 
 
 
     
  
 
   
 
 
    
  
   
  
   
 
   
  
  
   
  
   

Patient Name: M|CHAEL OCONNER
MR #: 003173193

Date of Blrth: 06118!90

05111)'14

Admit Date: 05!09!14

Blunt trauma

- CT head, abdr*pelvis, CXR. clear
- c-co||ar cleared

- flu PT!OT recs

S|. resolved as of this am per pt

~1:1 sitter

~ appreciate SW recs

will con't psych recs

contZyprexa 15mg qpm,

cont Depakote 500mg bid,

Cont Va|iurn, change the dose to 2mg q8hrs pm.

FEN
-egmm

Dlspc
- br to Cermak ; to police custody

Kelvin Acljei-Twum, PGY-‘l
Trauma Service , x16446

Addendum

 

plan. l agree or disagree as noted...

Transc:r:l.bed Date/Time
05/11/14 074'?

Ent ered/S i gned by P:r:ovider:
Jate/Time

213 Electronic Signature by
15/11/14 1155
.T Electronic Signature by

5/12/14 1427

l:‘|"'l_f'\f'l"l'n

 
 

ADDENDUM: Vafa MD,Amir on 05/1 2114 at 1427

Acct #: 000151349313
Room#: N211-01
Servlce Date:

Service Time: 074?

- CT facial bones with equivocal non-displaced nasal bone fracture

Add Prazosin 1mg now once and 2mg qhs, hold if BP <1 00160 - given to address PTSD s`x

l have personally examined the patient and reviewed the resident's history and physical assessment and

patient doing wel|, awaiting psych recs then transfer to police custody for transfer to psych uth of cerma|<

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Adj ei -Twurn, Kelvin MD

Vafa,Amir MD

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' 50 Of 152 Page|D #:150

 

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Case: 1:15-Cv-06494 Document #: 1 Filed: 07/24/15 Page 151 of 152 Page|D #:151 ' t

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-r' Case: 1:15-Cv-06494 Document #: 1 Filed: 07/24/15 Page 152 of 152 Page|D #:152

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